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       Exhibit B
(Application for Search
      Warrant )
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         AO 106 (Rev. 04/10) Application for a Search Warrant



                                                  UNITED STATES DISTRICT                                   COUR~ILED
                                                                                 for the                            DEC- 9 2020
                                                                           District of Nevada                            TRATE JUDGE
                                                                                                               U.S. MTAR~~~
                                                                                                                          OF NEVADA
                                                                                                                 DIS       ___     DEPUTY
                         In the Matter of the Search of                                                    BY___-
                                                                                    )
                   (Briefly describe the property to be searched                    )
                    or idelllify the person by name and address)                                            3:20-mj-123-WGC
                                                                                    )           Case No.
          The business and Federal Firearms Licensee ("FFL")                        )
         known as POLYMERB0, Inc. ("POL YMER80"), which is                          )
             located at 134 Lakes Blvd, Dayton, NV 89403                            )

                                                         APPLICATION FOR A SEARCH WARRANT
                 I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
         penalty of perjury that I have reason to believe that on the following person or property (identify tireperson or describe tire
         pr.apertv to be searched {1Jld,l!ive its../ocation): .                                                                         .     .
           me business and r-eaeral t-irearms Licensee ("FFL ") known as POL YMER80, Inc. ("POLYMER80"), which rs located at
           134 Lakes Blvd, Dayton, as further described in Attachment A, attached hereto and incorporated herein by reference.
         located in the                                      District of                Nevada               , there is now concealed (identify tire
         person or describe tire property to be sei=ed):
                                                                                ---------
          See Attachment B, attached hereto and incorporated herein by reference.

                    The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                           rJfevidence of a crime;
                           ri contraband, fruits of crime, or other items illegally         possessed;
                           ~ property      designed for use, intended for use, or used in committing a crime;
                           0 a person to be arrested or a person who is unlawfully restrained.

                    The search is related to a violation of:
                         Code Section                                                           Offense Description
                 18 USC§ 922(a)(2)                             Shipment or Transport of a Firearm by a Federal Firearms Licensee ("FFL") to a
                 and other offenses                            Non-FFL in Interstate or Foreign Commerce and other offenses listed in
                 listed in Attachment B                        Attachment B
                    The application is based on these facts:

                 See Affidavit of ATF Special Agent Tolliver Hart, attached hereto and incorporated by reference.

                    t'lfContinued       on the attached sheet.
                    0 Delayed notice of __        days (give exact ending date if more than 30 days: _____                             ) is requested
                          under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                           1/6~_            Applicant's signature

                                                                                                     Tolliver Hart, ATF Special Agent
                                                                                                            Primed name and ,-itl_e_~------

         Subscribed and sworn to before me
         by reliable electronic means on:
 I
'f,i'"
~ ~:
                ~
                   '2\    t:Yic.~b;i,.r:)                 20                               Lu~                 G-__
                                                                                                                  (~--
                                                                                                              Judge 's signature

~ City and state:             Reno, Nevada                                                      WILLIAM G. COBB, U.S. Magistrate Judge
                                                                                                            Printed name and title
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                                                                 AFFIDAVIT

I,    Tolliver             Hart,       being            duly          sworn,          declare            and     state       as

follows:

                                                I.       PURPOSE OF AFFIDAVIT
          1.          I make          this           affidavit              in     support           of       an application                   for

a warrant             to    search           a business                 at       134 Lakes               Blvd,       Dayton,          NV

89403          (the    "SUBJECT PREMISES")                              as       described               more       fully      in

Attachment             A.

          2.          The requested                     search          warrant              seeks        authorization                  to

seize      evidence,               fruits,              or      instrumentalities                         of     violations              of     18

U.S. C. §§            92 2 (a) ( 2)             ( Shipment             or       Transport            of       a Firearm           by a

Federal          Firearms             Licensee                ("FFL")            to    a Non-FFL               in    Interstate                or

Foreign          Commerce);                922 (b) (2)                (Sale       or     Delivery              of    a Firearm             by

an FFL in             Violation              of       State        Law or             Ordinance);                922 (b) (3)            (Sale

or    Delivery             of    a Firearm               by an FFL to                    Person           Not       Residing          in       the

FFL' s State);                  922 (b) (5)             (Sale          or       Delivery         of       a Firearm            by an FFL

Without          Notating             Required                Information               in      Records);              922(d)           (Sale

or    Disposition                of    a Firearm                 to     a Prohibited                     Person);           922(e)

(Delivery             of    a Package                 Containing                 a Firearm               to    a Common Carrier

Without          Written           Notice);              922(g)              (Possession                 of    a Firearm            by a

Prohibited             Person);              922(m)             (False           Records         by an FFL);                 922(t)

(Knowing            Transfer           of        Firearm          without              a Background                  Check);          922(z)

(Sale,         Delivery,              or     Transfer             of        a Handgun            by an FFL Without                         a

Secure         Gun Storage                 or        Safety       Device);              371      (Conspiracy);                    and      22

U.S.C.         §§     2278 (b) (2)               and      (c)     and           50 U.S.C.            §    4819       (Violations                of

the     Arms Export                Control             Act       and        Export           Control           Regulations)

(collectively,                  the        "Subject              Offenses")              .


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             3.         The facts                 set        forth      in       this      affidavit                are        based        upon

my personal                   observations,                     my training                and      experience,                   and

information                   obtained                from      other        agents          and witnesses.                         This

affidavit               is         intended             to     show merely               that       there           is     sufficient

probable            cause            for       the       requested               warrant          and does               not      purport             to

set     forth           all         of my knowledge                     of       or     investigation                     into      this

matter.             Unless               specifically                  indicated             otherwise,                  all

conversations                       and       statements               described             in     this        affidavit                are

related            in    substance                    and      in part           only.

                                                II.          BACKGROUND OF AFFIANT

             4.         I am a Special                        Agent          ("SA")        with         the     Bureau            of

Alcohol,            Tobacco,                  Firearms           and        Explosives              ("ATF"),               and have             been

since         February               2010.              I am currently                   assigned              to    the         Glendale

Field         Office,               in     Glendale,             California.                    I am responsible                         for

investigating                       and       enforcing              violations             of      Federal              law,       including

violations               of         Federal             firearms            laws.          In my career,                       I have

assisted            with            over       a 100 federal                     and     local          criminal

investigations,                          to    include           investigations                     of        firearms

trafficking,                   narcotics                 trafficking,                   cigarette              trafficking,                    armed

robbery,            burglary,                  child          exploitation,                 and         unlawful               firearm

possession,                   many of which                     involved              individuals               who utilized                    the

internet            and digital                       devices          to    further            their          illegal            conduct.

           5.           I graduated                     from     the        Criminal            Investigator                     Training

Program            and        the        ATF Special                 Agent        Basic         Training             Program,              both

are     located               at     the       Federal           Law Enforcement                        Training               Center          in

Glynco,            Georgia.                   I am also              an attorney,                 admitted               to      practice

law     in        New York               State.              I received               my Juris           Doctor            from        Brooklyn


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Law School                  in       Brooklyn,               New York.               I received             my Bachelor                 of

Arts         degree             in     Psychology                  and     Criminal          Justice             from      the      George

Washington                  University                  in        Washington,             D.C.

                                              III.         SUMMARYOF INVESTIGATION
             6.           The focus                of      this       investigation                 is     on the          suspected

unlawful              manufacturing                        and distribution                   of       firearms,              including

failure              to    properly                mark           or pay      taxes         on manufactured                      firearms,

shipping              firearms               to      residents               of    other      states,              and     failure           to

properly              conduct               background                investigations                   related           to      firearms

sales,            by PolymerB0,                      Inc.          ("POLYMERB0"),                a Nevada            corporation

and      Federal                Firearms             Licensee               ("FFL")        owned          and operated               by

David         BORGES and                    Loran        KELLEY.              POLYMERB0's headquarters                               is

located            at      the         SUBJECT PREMISES.                           Its     products,               including

firearm            components                  and       other            merchandise,              are     shipped              from     the

SUBJECT PREMISES to                                customers.

             7.           In around                February               2020,     I learned              that,         in      addition

to     components                    and     other           merchandise,                 POLYMERB0 offers                       a product

for      sale         called               a "Buy Build                   Shoot     Kit."           POLYMER80 advertises

to     its        customers                 that        this        kit     "contains            all       the      necessary

components"                     to    build          a complete               firearm,           including               "the       80%

frame         kit,         complete                slide           assembly,             complete          frame         parts       kit,         10

round         magazine                and      a pistol              case."

             8.           ATF agents                 purchased              a number          of       "Buy Build               Shoot

Kits"         from         the        POLYMERB0 website,                           which      were         then      shipped            by

POLYMER80 from                        the      SUBJECT PREMISES to                          California.                   Utilizing

the      components                   provided               in     the     kit,         an ATF Senior               Special            Agent

assembled                 the        kit     into        a fully            functional              firearm          in


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approximately                         three         hours.            Utilizing                 the     components                provided                 in

another              kit,        a confidential                         informant               working            with         the     ATF (the

"CI")          assembled                    a fully          functional                  firearm         in        approximately                      21

minutes.                 The ATF Senior                        Special             Agent,          who is           an ATF certified

firearms                expert,              determined               that         the     "Buy Build                Shoot            Kit"         as

designed,                manufactured,                      and       distributed                  by POLYMER80, is                          a

"firearm"                as defined                  under           federal             law,      as a weapon                   "which            will

or      is     designed                or may readily                     be converted                   to        expel         a projectile

by the            action              of an explosive,"                        as well             as    a "handgun,"                      defined

as      "a     firearm                which         has     a short            stock            and     is     designed               to     be held

and      fired           by the              use     of     a single               hand"         and     "any        combination                      of

parts          from         which            a firearm.                            can     be assembled."

             9.          Despite              POLYMER80's                 sales           of     items        meeting             the        federal

definition                  of        a firearm,               POLYMER80 appears                         not        to     abide           by the

rules         and        regulations                   governing               the        sale        and disposition                        of

firearms,                including                  laws       and       regulations                  pertaining                 to     FFLs.

For      example,                it        appears          that         POLYMER80 does                      not     conduct

investigation                         or     required           background                 checks            on individuals

purchasing                  firearms                from       the       POLYMER80 website,                          ships            firearms

to     individuals                     outside            of    its       home state                  of Nevada,                 does        not

provide            notice              to     common carriers                       that         firearms            are         being

shipped              through               their       facilities,                  and        does      not        keep         proper

records              required               of      FFLs.          Lastly,           based            on records                 obtained

from         third          parties                as part         of     this       investigation,                        it     appears

that         POLYMER80 shipped                            items         to     individuals                   determined                 to       be

felons            and       otherwise                prohibited                from        purchasing                or possessing




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firearms             or      ammunition,                  as well         as        individuals                    located                 in
foreign          countries.

            IV.           BACKGROUND
                                   ON FIREARMS AND FEDERAL FIREARMS LAWS

          A.           Definitions                 of       "Firearm"               and "Handgun"
           10.         A "firearm"                   is     defined           in         18 U.S.C.             §        921(a)            (3) (A) as

"any      weapon             (including               a starter               gun)         which         will                or     is     designed

to     or may readily                       be converted                 to        expel         a projectile                        by the

action          of     an explosive."                        This        definition                 includes                      "the      frame         or
receiver             of      any     such       weapon."

           11.         A "handgun"                 is       defined           in         18 U.S.C.             §        921 (a) (29)               as

"(A)      a firearm                 which      has          a short           stock         and         is     designed                    to    be

held      and        fired         by the          use       of     a single               hand;         and            (B) any

combination                  of parts           from         which        a firearm                described                        in

subparagraph                  (A) can          be assembled."

          12.         Unfinished               frames              are    parts            for     a pistol                       that      have        not

yet     reached              a point          in      the     manufacturing                       process                to        be

considered                frames.             The distinction                        between             a finished                        and

unfinished                frame        is     that          a finished               frame         is        capable                 of

receiving             the         components              necessary                 to     assemble                it         into         an

operable             firearm.                In addition,                 a completed                    pistol                   frame         will

often      have           rails        to     allow          the     attachment                   of     the            slide,             which

contains             additional               components                 such        as     the        barrel,                    recoil         spring

assembly,             and         firing       pin.           Pistol            slides            are        not         regulated                 by

ATF,     and may be                  sold,         purchased,                 or     transported                        in        interstate

commerce             fully         assembled.




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           B.             Background  on Federal Laws and Regulations                                                                      Governing
                          FFLs and Firearm Sales
           13.            Federal            law        requires               individuals                        and         businesses                 to

obtain           a license                 in     order           to    manufacture                          or     sell         firearms.                    18

U.S.C.           §    922(a)         (1) (A) provides                          that           it       shall            be unlawful                  for        any

person           "except             a licensed                   importer,                licensed                     manufacturer,                      or

licensed             dealer,               to     engage           in     the           business                  of     importing,

manufacturing,                      or      dealing               in     firearms,                     or     in        the      course             of     such

business             to     ship,           transport,                  or         receive                  any    firearm                in

interstate                 or      foreign             commerce                .                   "
           14.            18 U.S.C.               §    921(a)           (10)           defines               "manufacturer"                         to     mean

"any      person            engaged               in     the       business                of manufacturing                                firearms                or

ammunition                 for      purposes                 of    sale            or     distribution.                                         "
          15.             18 U.S.C.               §    921 (a) (11)                    defines               "dealer"                to    mean          "(A)

any    person              engaged               in    the        business                of       selling               firearms               at

wholesale              or        retail,              (B) any           person             engaged                 in      the        business                of

repairing              firearms                  or    of making                   or     fitting                 special             barrels,

stocks,          or        trigger              mechanisms                to           firearms                                  "
          16.          In addition                     to     being          authorized                       to        manufacture

firearms,              a licensed                     manufacturer                      can        also           deal         in     firearms

without          the        need           for        a separate                   firearms                  dealers            license.                   In

addition             to     regulations                     requiring                   licensed                  manufacturers                      to       mark

firearms             with         their           unique           manufacturing                            marks          and        serial

numbers,             licensed               manufacturers                          dealing              in        firearms                are       also

required             to     obtain              a certified                  ATF Form 4473                              from         non-licensee

purchasers,                 conduct               background                 checks,                   and        are      prohibited                    from

shipping             firearms               across            state          borders                   to     non-licensed

individuals.


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           17.            18 U.S.C.                    § 922(t)            sets         forth             the         requirement                       that,

prior         to      transferring                       a firearm                to      a non-licensee,                               "the            licensee

contacts              the        national                instant                criminal             background                      check              system

established                     under         section               103 of             that         Act                         "         In addition,

the       transferor                   is     required               to     verify                 "the         identity                of        the

transferee                  by examining                       a valid            identification                             document                   (as

defined              in     section               1028(d)            of     this          title)                of the          transferee

containing                  a photograph                       of    the         transferee."

           18.            18 U.S.C.                § 922(a)               (2)     states             that          is        unlawful                   "for     any

importer,                 manufacturer,                     dealer,               or      collector                    licensed                under            the

provisions                  of    this            chapter            to     ship          or        transport                 in      interstate                      or

foreign            commerce                 any         firearm            to     any person                     other          than           a licensed

importer,                 licensed                manufacturer,                        licensed                 dealer,             or       licensed

collector                          ."       except          for       certain                 situations                     (e.g.,            returning

or    replacing                  firearms,                or        firearms              shipped                to     certain                government
officials).

           19.            18 U.S.C.                § 922(b)               (3)     provides                  that        it      is        unlawful               for

a licensee                 to     sell            or     deliver            "any         firearm                 to     any person                       who the

licensee              knows            or    has         reasonable                   cause          to         believe            does            not

reside          in        (or     if        the        person         is        a corporation                         or      other            business

entity,            does          not        maintain                a place             of business                     in)         the        State            in

which        the          licensee's                   place         of business                     is         located                                  "

          20.             18 U.S.C.                §922(e)            states             that             "It      shall           be unlawful

for      any person                 knowingly                  to     deliver                 or     cause            to      be delivered                       to

any      common or                contract                carrier               for      transportation                            or        shipment                in

interstate                 or     foreign               commerce,                 to     persons                 other         than            licensed

importers,                 licensed                manufacturers,                        licensed                  dealers,                  or     licensed


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collectors,                  any        package             or     other            container              in     which            there         is        any

firearm            or      ammunition                    without          written             notice             to     the        carrier                that

such         firearm             or     ammunition                  is    being         transported                     or     shipped                .

  "
           21.           The United                  States          Postal            Service             maintains                a document

entitled                Publication                  52 - Hazardous,                        Restricted,                  and        Perishable

Mail.            According               to         section          432.24            of     this         document,                a licensee

"must         file        with          the         Postmaster              a statement                    on PS Form                 1508,

Statement                by Shipper                  of     Firearms,                signed          by the            mailer             that            he

or     she       is      a licensed                  manufacturer,                    dealer,              or     importer                of

firearms."                  Also,             the        mailer          must        "state             that      the         parcels

containing                handguns,                  or     parts         and        components                  of     handguns               under

432.2d,           are       being          mailed             in     customary                trade            shipments              or       contain

such       articles               for         repairing              or     replacing                parts,             and        that        to         the

best       of     their           knowledge                 the      addressees                   are      licensed

manufacturers,                        dealers,              or      importers                of     firearms."

           22.           According                  to    18 U.S.C.                 § 922(z),              "it        shall         be unlawful

for      any      licensed               importer,                  licensed            manufacturer,                         or    licensed

dealer           to      sell,          deliver,              or     transfer                any     handgun             to        any      person

other         than        any         person             licensed           under            this        chapter,              unless            the

transferee                 is     provided                with       a secure                gun        storage          or        safety

device           (as      defined              in        section          921(a)            (34))        for      that         handgun."

           23.           18 U.S.C.                  § 922(m)             provides             that         "It        shall         be unlawful

for      any      licensed               importer,                  licensed            manufacturer,                         licensed

dealer,           or      licensed                  collector             knowingly                 to make             any        false         entry

in,      to      fail       to        make          appropriate                 entry         in,        or      to     fail        to      properly

maintain,                any      record             which         he     is        required             to      keep         pursuant                to


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section            923 of           this         chapter          or         regulations                promulgated

thereunder."

             24.       27 CFR § 478.124                         further                 clarifies             this         record             keeping

requirement,                     stating          that         a "licensed                     importer,             licensed

manufacturer,                     or     licensed              dealer             shall         not     sell         or      otherwise

dispose,            temporarily                   or     permanently,                         of any       firearm            to        any

person,            other          than        another           licensee,                  unless        the         licensee                 records

the     transaction                    on a firearms                    transaction                   record,             Form 4473."

The rule            also          states          that         "After             the      transferee                has      executed                 the

Form 4473,             the          licensee                      . Shall                verify         the        identity              of      the

transferee             by examining                      the     identification                         document                  (as    defined

in§       478.11)            presented,                  and     shall             note         on the         Form 4473                 the         type

of    identification                       used.                        ,,

          25.         Finally,                18 U.S.C.            § 922(b)                   (2)    provides             that          "It      shall

be unlawful                 for        any       licensed          importer,                    licensed             manufacturer,

licensed            dealer,              or    licensed            collector                    to    sell         or     deliver

any     firearm             to     any        person        in     any            State         where        the        purchase               or

possession             by such                person        of     such            firearm            would          be      in     violation

of any         State         law         or    any       published                 ordinance             applicable                     at     the

place         of    sale,          delivery              or other                 disposition,                 unless             the

licensee            knows          or      has     reasonable                     cause         to    believe             that          the

purchase            or possession                      would       not            be     in     violation               of    such            State

law     or     such        published               ordinance                  .                 ,,




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         V.          BACKGROUNDON GLOCK-TYPE PISTOLS AND PRIVATELY MADE
                                 FIREARMS OR "GHOST GUNS"
           26.        Glock         Ges.m.b.H.,              trademarked                 as "Glock,"                 is    a firearm

manufacturer                 headquartered                  in Austria.                  Glock          also     has       a

subsidiary                 company,         Glock,          Inc.,         located          in        Smyrna,         Georgia.

Glock       primarily               manufactures                  polymer-framed                     pistols         of varying

calibers.                  Each     model      is        identified              by a "G" along                  with

corresponding                 model         number          (e.g.,         Gl7,         Gl8,         Gl9,      G4S).            Glocks

are      popular            among         United         States       citizens             and        various          law

enforcement                 agencies          (ATF issues                 its     Special             Agents         Glock
pistols)         .

           27.        As discussed                 below,          POLYMER80 manufactures                              frame

blanks        based          on the         Glock         design.               According             to     POLYMER80's

website,             in     response          to    the      question             "What         generation                Glock

products             are     the     PF940v2™             & PF940C""1 compatible                            with?"        POLYMER80

answered:             "The         PF940v2™         is     compatible               with        components                for     Gen 3

3-pin:        9mm Gl7,              34,     17L;         .40S&W G22,              35,      24;        and      .357Sig           G31.

The PF940C™ is                    compatible              with       components                for      Gen3     30-ping            [sic]

9mm Gl9          & .40        S&W G23."

                                   Glock:                                                                    POLYMERS0:




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          28.         Based         on my review                 of ATF records                   and my conversations

with      ATF agents               and      other         law enforcement                     officers,                 I learned

the     following:

                      a.          Instead          of    "unfinished                receiver,"                 ATF uses             the

term      "receiver               blanks"          or    "frame           blanks"         to      describe               objects,

similar          in    appearance               to      pistol         frames,           that      have           not     yet

reached          a point           in    the      manufacturing                   process          to be           classified              as

"firearms"             as     defined           by 18         u.s.c.         § 921(a)            (3).         ATF uses              the

term      "privately               made        firearms"             or    "PMFs"         to      describe               firearms

that      do not           bear     a licensed                manufacturer's                    mark         or    serial

number;          however,           colloquially,                    these        are     referred                to     as     "ghost
guns."

                      b.          According             to    estimates             based         on data              from      ATF's

National          Tracing           Center,             approximately                   10,000          PMFs or           "ghost

guns"         were     recovered             by law           enforcement                in     2019.             Approximately

2,700         were     recovered             in      California,                 including              from       crime         scenes

as     well      as    law enforcement                       seizures            from     convicted                felons,

members         of     violent           streets             gangs        such      as Mara             Salvatrucha                 ("MS-

13")      and     others,           and      individuals                  who were            otherwise                prohibited

from      possessing               firearms.                 I reviewed             records             of    these

recoveries             and        saw that           POLYMERB0 completed                         pistols               were      used      in

hundreds          of       crimes        throughout              the       United         States.                 In 2019         and

2020,         these        crimes        have        included             unlawful            firearm             possession,

firearm         trafficking,                 domestic            violence,               aggravated                assault,

kidnapping,                carjacking,               robbery,             and     homicide.                  For       example,           in

2019,         approximately               fifteen             POLYMER80 handguns                         were          recovered           in

California             homicide           investigations,                       and      eight          were       recovered              in


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California                 robbery         investigations.                           One of             these          homicides

included           a 2019           home invasion                      robbery             and murder                  of     three

individuals                 in     Glendale,              California.

                      c.           On September                   12,     2020,            two Los Angeles                        County

Sheriff's             Department                deputies               were         shot         while         sitting              in    their

patrol       vehicle               in    Compton,            CA.          The firearm                     used         in     the        attack

was identified                     as    a POLYMERBO, model                            PF940c,                handgun.

                      d.           More recently,                      on November                     13,     2020,          a 29-year

old      man was            shot        and     killed            in    front          of his             home by purported

members          of        the     Gardena           13 street                gang         in         Gardena,          California.

Two of       the           weapons         recovered               near        the         scene          of     the        murder            were

POLYMERBO, model                        PF940c,          handguns.                   Three             members          of Gardena                13

have      since            been     charged           with         violent             crime            in     aid      of

racketeering                 related           to     this         murder.

                      e.           In addition,               ATF created                        and maintains                    the

National           Integrated                 Ballistic                Information                     Network              ("NIBIN"),            a

database          containing                  ballistic                images          from            firearms             and      cartridge

casing       evidence               seized           by law enforcement,                                including              those

recovered             at     crime         scenes.            According                    to     NIBIN records,                         in    2019,

approximately                    1,475        PMFs recovered                    in         the         United        States              were

entered       into           the        database;            approximately                            1,278      (over         86%) were

made      from        POLYMER80 frames.

                      f.          Also,        the       number           of    POLYMERBOhandguns                                 recovered

by law enforcement                        appears            to        be underreported.                             Based           on my

understanding,                    many POLYMERBOpistols                                    are         misidentified                     and

cataloged             as Glock            pistols.                 This        is     often             the      situation                when a

Glock       manufactured                  and       serialized                 slide             is     placed          on a POLYMER80


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frame.               For     example,            in      a 2020       homicide              investigation                   in    West

Virginia,               local           law enforcement                informed              the      National              Tracing

Center           that        a Glock            pistol        was recovered.                       An ATF agent                  later

determined                  that        the     murder        weapon         was actually                a POLYMER80 model

PF940v2           firearm,               whose        slide        had been              replaced       with          a genuine,

serialized                  Glock        Model        17 slide.

                                        VI.       STATEMENTOF PROBABLE CAUSE
           29.          Based           on my training                and       experience,             my own

investigation                      in    this      case,          and my discussions                    with          the        UCs in

this       case         and        other        law      enforcement               agents,          I know the

following:

           A.           Background               on POLYMERB0, Inc.
           30.          POLYMER80 is                  a corporation                 incorporated                 in     Nevada,

formed           in     December              2014.         The current                  address       for       POLYMER80 is

the      SUBJECT PREMISES.                            According            to      the     most       recent          corporate

filings,              the     Chief           Executive            Officer          for      POLYMER80 is                Loran

KELLEY.               The Secretary,                     Chief      Financial              Officer,          and        registered

agent       is        David         BORGES.              According           to     documents            filed          with        the

California                  Secretary            of      State,       POLYMER80 describes                         its        business

as     "WHOLESALE-RETAIL DISTRIBUTION."

           31.          In addition,                  POLYMERBO is                 also      a Federal            Firearms

Licensee              ("FFL"),             Type       07 License,               Number:            9-88-019-07-2J-04702.

A Type          07 license                 allows         POLYMER80 to               be both           a manufacturer                      and

dealer          of      firearms.                Type       07 license              holders          typically               receive

additional                 instruction                concerning             the      Gun Control              Act,          laws         and




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regulations               concerning             manufacturing                          and     sales         of      firearms,          and

record          keeping          requirements.

          32.          POLYMER80 received                          its         FFL on or              about          August       24,

2016.           POLYMER80 listed                     its      business                  name as            "P80       TACTICAL P80."

The premises               address             for     the         FFL is            the       SUBJECT PREMISES.                        The

mailing          address          provided             for         the        FFL is           an address               in    San

Antonio,          TX.           BORGES and KELLEY each                                  have         the     title       "CO-OWNER,"

and      are     listed          as   the       responsible                    persons               for     the      FFL.

          B.           POLYMER80's Initial                          FFL Report
          33.          In 2016,        prior           to     obtaining                     an FFL,          an ATF Industry

Operations              Investigator                 ("IOI")              created              a Firearms               Qualification

Report          documenting            preapproval                       contacts              with        POLYMER80.                In the

report,          the      IOI     wrote         that         POLYMER80 is                      a "manufacturer                    and

distributor               of unfinished                    80% receivers."                            At the          time,       as

reported          to      the     ATF,      POLYMER80 made                           three           types      of unfinished

receivers,              specifically                 an AR-10                 type          blank,         an AR-15           type

blank,          and    a Glock         pistol              type          blank.         1     POLYMER80 often                   refers          to

these         products          as    "80%"          receivers                 or       frames         in     its       promotional

materials             on their         website.                    In addition                  to     80% unfinished

receivers,             POLYMER80 also                      sells          various              firearm          parts         and

accessories               on its       website.

          34.         According           to     the        initial               qualification                      report     by the

IOI,      POLYMER80 obtained                         an FFL in                 order           to     "manufacture                and    sell

complete          firearms            and       receivers                 in      the        near      future."               Also      in



          1
               Based on my review  of the                                  website    POLYMER80.COM, it
appears         that  POLYMER80 now sells                                  additional    types of unfinished
receivers          and frames.


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the     report,              POLYMERBOnoted                       that        they         currently           sold       3,000

unfinished                 receivers             and        frames,           but        anticipated             selling          up to

6,000         or more             firearms            per        year.

             35.       The report                also        documents               the        IOI's      discussions              with

KELLEY regarding                         federal            firearm           laws,            regulations,             and

recordkeeping                     requirements.                    The IOI provided                        KELLEY with              a copy

of     the         Federal            Firearms          Regulations                  Reference             Guide        (ATF P

5300.4),             the         Federal         Firearms             Licensee                 Quick    Reference             and Best

Practices              Guide            (ATF P 5300.15).                       The Federal                 Firearms

Regulations                  Reference             Guide          includes               the     definition             of    a firearm

as described                     in    18 U.S.C.             §    921(a)        (3).

         C.           ATF Determination                           on POLYMERS0Glock-Type                              Frame Blanks
             36.       Based           on the         following,               I believe                POLYMERBOis               aware

that     the         compilation                 of     components                 in     its      "Buy,       Build,         Shoot"

kits     meets             the        federal         definition               of        a firearm:

         37.           On or           about       October            6,      2016,         POLYMERBOsubmitted                         for

analysis             two PF940C                 Glock-type               unfinished                frames,        through           its

counsel,             the      Law Offices                of       Davis        &    Associates,                located         in

Temecula,             CA, to            ATF's         Firearms             Technology                Industry         and      Services

Branch             ("FTISB").                 FTISB evaluated                      the      unfinished            frames          to

determine             if      they        were        defined            as    firearms             and       regulated           under

the     Gun Control                    Act.        Photographs                 of the            two submitted                PF940C

unfinished                 frames         are      as    follows:




                                                                         15
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                         Devoid of Trigger Mechanism P.in Hole




          Devoid ofi Trigger Pin Hole




                         Devoid of Slide Rai.ls




          Un-Formed Barrel Seat

                                        •

      f




                                 16
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          38.         The item,            as      it     was submitted                    by POLYMER80, included

only      the     unfinished               frame.              The item              submitted,                 and which            ATF

provided          an opinion               on,          did    not      include            the      slide,           springs,

ammunition             magazine,             and         various             other        parts      that          are      included

in     POLYMER80's              Buy Build                Shoot         Kit,      that           POLYMER80 advertises                         as

"all      the    necessary             components"                     to     build        a completed                   firearm.

          39.         On or      about          January            18,        2017,        FTISB          sent       a

determination               letter           to         POLYMER80's              counsel.                 FTISB notified

POLYMER80 that                  the    PF940C             unfinished                 frame,         as     it      was

constituted              and     submitted                by POLYMBER80, was not                                  "sufficiently

complete         to      be classified                    as     the         frame        or     receiver            of a firearm

and    thus      not      a 'firearm'                    as    defined           in       the      GCA."           The January

18,    2017      determination                     letter          is       attached             hereto           as Exhibit           1.

FTISB also             stated         in     the         determination                    letter          that:

          Correspondence           from our Branch            is dependent        upon the
          particular        facts,      designs,        characteristics         or
          scenarios       presented.           Please      be aware that        although
          other     cases     (submissions          to our Branch)          may appear       to
          present      identical        issues,       this    correspondence         pertains
          to a particular            issue     or item.         We caution      applying
          this    guidance       in this       correspondence           to other     cases,
          because      complex       legal     or technical          issues   may exist
          that    differentiate           this    scenario       or finding       from
          others     that     only appear         to be the same.

          Please     be aware,      this     determination          is relevant                                           to   the
          item as submitted.             If the design,           dimensions,
          configuration,          method of operation,             processes                                         or
          utilized      materials       [sic],     this    classification                                            would      be
          subject     to review       and would require             submission                                        to
          FTISB of a complete            functioning         exemplar.

          40.         Additionally,                 a year           prior           to    this      determination,

POLYMER80, through                     its        counsel,              submitted               a determination

request         for      a different                Glock-type                 unfinished                pistol           frame,       the
                                                                                            I




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"GC9 Blank."                       Again,            POLYMER80 submitted                         only         the     unfinished

frame        and       not         the       other      parts         that        comprise              the        Buy Build               Shoot

Kit,      and         that         POLYMER80 advertises                           as      "all        the      necessary

components"                  to     build            a completed               firearm.               In its          determination,

dated        November               2,       2015,       FTISB had              similar           findings                 to     the      later

determination.                           The November               2,      2015       determination                       letter          is

attached           hereto                as Exhibit            2.        FTISB stated                   that         this        Glock-Type

pistol          frame         blank           was not          "sufficiently                     complete             to        be

classified               as        the       frame      or     receiver              of     a firearm;                and         thus,         is

not      a 'firearm'                     as defined            in     the       GCA."            Similarly,                 FTISB wrote

that      the      determination                       was relevant                  only        to     the         item        as

submitted,               and        that        if     the     design           or     configuration                       of     the      item

was changed,                  the         opinion         expressed               in      the     letter             would           not       apply

and      a new analysis                       and      determination                   would          be needed.                     Both

determination                      letters            included           the      relevant              portion             of       18 U.S.C.

§     921 (a) (3),            specifically                   that        the      statute             "defines              the         term

'firearm'              to     include            any weapon                 (including                a starter                 gun)       which

will      or     is      designed               to     or may be readily                         converted                 to     expel         a

projectile               by the            action         of     an explosive                                   [and]           . . . the

frame       or     receiver                of    any      such        weapon.                           "
          41.          POLYMER80 placed                        this       November               2,     2015         letter             on its

website,           under            the       "ATF Determination                          Letter"             link         at     the      bottom

the      main      page.              In addition,                  on the           main        page         of     its        website             the

question           "Is        it      legal?"           is     written.                POLYMERBOanswers                              the

question           by writing:

          The Polymer80    Gl50™, RL556v3™ and                                              PF-Series'M   80% Frames                                are
          well within   the defined  parameters                                              of a "receiver    blank"


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           defined      by the ATF and therefore       has not yet reached      a
           stage    of manufacture     that  meets the definition       of firearm
           frame or receiver       found in the Gun Control       Act of 1968
            (GCA).      As always  Polymer80   advises    EVERYONE to check with
           their    local    state laws prior    to making a purchase      on our
           website,      as they may differ    from federally     allowed
           regulations.

           42.            More     recently,                 on or               about        December                11,        2017,

POLYMER80, through                            its      counsel,                   submitted                   a "PF940V2              Blank"               for

analysis              and        opinion            by FTISB.                     This        "V2"            blank        is      a newer

version              of    the     frame            that         had        previously                    been        submitted                for

review          by POLYMER80.                        Again,                the        item,         as        submitted             by

POLYMER80, included                            only         the         unfinished                       frame        and       did      not

include          any         of    the      other           parts                included                in    the        Buy Build             Shoot

Kit      that         POLYMER80 advertises                                  as        including                "all        the      necessary

components"                  to build               a completed                       firearm.

           43.            FTISB      responded                   to     POLYMER80's                       request            for      an opinion

on its          "PF940V2             Blank"            in        correspondence                           to        POLYMER80's             counsel

dated       February               20,      2018.                The February                       20,        2018        determination

letter          is        attached          hereto               as     Exhibit               3.          After           describing                 the

features              of    the      item           submitted                by POLYMER80, FTISB's                                    February

20,      2018         letter         stated:               "It        is     clear            from            the     above         information

provided              in    your      correspondence                              that        the         submitted                sample            is

only      a component                 used           in     the         assembly               of         an end-item.                    Research

conducted                 by FTISB has                disclosed                    that        a Polymer                   80 Model             PF940V2

is     being          marketed           at         www.polymer80.com                               ..                "      FTISB        then

provided              screenshots                   from         POLYMER80's                   website,                   and      identified

the      additional                components                    that        are         advertised                   as being            sold             in

combination                 with      the           PF940V2             Blank            on POLYMER80's

website.                  FTISB's        letter             continued:                    "Clearly                  the      submitted


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sample          is       simply           a component                 of     a larger              product              ...                 Please

note,          the       frame       or      receiver               of     a firearm               is      a firearm                    as     defined

in      [the        Gun Control                Act],            18 U.S.C.               §   921 (a) (3) (B),                      and        any

combination                 of parts              from          which        a handgun,                  as defined                     in     18

U.S. C.         §    921 (a) (29),                can       be assembled                    is     also         a firearm                    as

defined             in    18      u.s.c.          §    921(a)            (3) ."

          44.            FTISB's           determination                     letter          also          stated                that        "FTISB

will      not        render          a classification                            on a partial                   product

submission.                    In order               to    receive              an evaluation                      and

classification                      of     your        product,              please          submit             the         complete

Polymer             80 Model              PF940V2           80% Standard                    Pistol             Frame             Kit        being

marketed             by your              client."

          45.            Based       on information                        provided              by FTISB,                  it         is    my

understanding                     that,        as      of       December            4,      2020,          POLYMER80 had                          not

resubmitted                 the      complete               PF940V2           pistol              kit      to       FTISB.                  Further,

as discussed                   in    greater               detail          below,           the         Buy Build                 Shoot           Kits

currently                being       marketed               and       sold        by POLYMER80 include                                      even        more

components                than       the       kits         that         were       discussed                  in     the         February

2018      FTISB           letter.              Despite              these         communications                       from             FTISB,

notifying                POLYMER80 that                     a combination                    of parts                 from          which           a

handgun             could        be assembled                    would        meet          the         federal             definition                   of

a firearm,                as     discussed                 in    greater            detail              below,         POLYMER80 began

manufacturing                    and       selling              Buy Build               Shoot           Kits        that,           as

advertised                by POLYMER80, include                                  "all       the         necessary                 components

to     build         a complete               PF940c             or      PF940v2            pistol,"                and          that        can        be

readily             assembled              into        fully          functional                  firearms             in         a matter               of

minutes.


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          D.          POLYMER80"Buy Build                           Shoot         Kit"
          46.         On or         about        February           21,     2020,             I utilized              an

undercover              ("UC")        computer            to       access         POLYMER80's                  website,

POLYMER80.COM.                      On the        website,            I viewed            multiple              products            for

sale,       including               a product            section           labelled                 "Buy Build             Shoot

Kits."           Four        different            products            were        offered             on this           page,

including             the         P80 Buy Build               Shoot        Kit         PF940C         and      the      P80 Buy

Build      Shoot            Kit     PF940v2,         along          with         the     same         two products                 for

sale      including                an ammunition               magazine.                 According              to

POLYMER80.COM, for                       orders          to    California,                    the     magazine             was

limited          to     10 round            magazines;              otherwise                 the      kits     included            a 15

or      17 round            magazine.             Each        of    the     products                 were      described            on

POLYMER80's                 website         as    containing               "all         the         necessary           components

to     build      a complete                PF940c        or       PF940v2         pistol."                   According            to     the

page,      the        kit      included           an "80% frame                   kit,         complete              slide

assembly,             complete           frame       parts          kit"      as       well          as   an ammunition

magazine          and        a pistol            case:




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                                                                         I,.

           ·PEICI
             POLYMER                    BO




                                                                                                        P80® Buy Build Shoot™ kit PF940C™ <                                                                    >
                                                                                                        - 10 Round Magazine



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       47.             I have                              not                 determined          when                  POLYMER80 began                                                      selling               the

"Buy   Build                Shoot                          Kits,"                    but    I did         see               a post                       on the                           "Polymer80"

Facebook          account                                  dated                    March    25,        2019                which                    stated:




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          Introducing       PS0's   NEW BBS (Buy Build        Shoot)  Kits   for 9mm
          Compact and Full         Size Frames!       Every single    part   in this
          picture     has been designed         and manufactured     by Polymer80.
          The BBS Kit includes          our 80% Frame Kit (#PF940C or
          #PF940v2)      and a complete       slide   as well as a frame parts
          kit!     No release      date  just     yet as we get final      components
          in, and figure        out pricing.




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          48.       Based      on my review                    of    POLYMERS0's                          website,                             it        appears

that      POLYMER80 also                  sells         each        of   the      components                              that                      constitute

the     Buy Build           Shoot         Kit      as    separate              items.                     Therefore,                                 a

customer        could        buy     the          equivalent             of     the           Buy Build                                 Shoot             Kit      by

purchasing           the     necessary              parts           in   one      transaction                                   or            as         a series

of     individual           transactions                 from        POLYMER80.




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          E.           Undercover  Purchase and Assemb1y of POLYMERS0Buy
                       Bui1d Shoot Kit By ATF Senior   Specia1 Agent
           49.         On or            about       February              26,    2020,             Senior         Special       Agent

("SSA")           David           Hamilton,               acting          in    a UC capacity,                     accessed

POLYMERSO.COM through                               a UC computer.                          SSA Hamilton              added          one

"PSO® Buy Build                         Shoot™           kit     PF940v2             -     10 Round           Magazine"             in     black

color         and      one        "PSO® Buy Build                      Shoot™              kit     PF940C          - 10 Round

Magazine"              in     flat        dark         earth          color      to         his     POLYMERS □          website

shopping            cart.               SSA Hamilton                  selected              two     kits      with      ten      round

magazines              to     comply            with          California                 Penal      Code       ("CFC")         § 32310

which,          among         other            things,          prohibited                  the     importation               and

receipt          of      any       large-capacity                      magazine                  (more     than      10 rounds)                by

any      person          in       the     state.          2



          50.          During            the      checkout             process,                 SSA Hamilton            provided               an

undercover               name,           address,              telephone                 number,          e-mail      address,              and

credit          card        number.               POLYMERSO did                  not            request       or     require             a date

of     birth,          social            security              number,          driver's              license         number,             or

other         identifier                 necessary               to    verify             the      buyer's         identity,              and

which         I know,             based         on my training                   and            experience,           is      required

in     order        to      conduct             a National               Instant                Criminal          Background              Check

System           ("NICS")            background                  check,         to        allow       an FFL to             legally

sell      or     transfer                a firearm.

          51.          However,                SSA Hamilton                was           asked      to     check      a box

agreeing            to      the      "Terms            and      Conditions,"                      which      included          a series




          2
         The Ninth  Circuit    has since   invalidated  California's    ban
on high-capacity     magazines    in Duncan v. Becerra,    No. 19-55376
(9th Cir.    Apr. 14, 2020).


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of       statements        similar      to    those        on ATF Form 4473,                3   used     to

determine             a purchaser's          eligibility             to     acquire       a firearm:

     •     I am not under   indictment     or information  in any                                      court    for        a
           felony,  or any other    crime,   for which the judge                                       could
           imprison  me for more than one year.

     •     I have never been convicted        in any court   of a felony,   or
           any other   crime,  for which the judge could have imprisoned
           me for more than one year,        even if I received   a shorter
           sentence  including    probation.

     •     I am not prohibited      by federal,                       state,    or local               laws from
           purchasing,   acquiring,    possessing,                         manufacturing,                 using or
           owning a firearm.

     •     I agree    to comply all     state,     federal,     and local                              laws
           relating     to purchasing,     acquiring,       possessing,
           manufacturing,      using   or owning a firearm.

     •     I am not an unlawful          user              of, or          addicted      to, marijuana                or
           any depressant       stimulant,                 narcotic           drug,     or any other
           controlled     substance.

     •     I am not        a fugitive         from     justice.

     •     I have never been adjudicated        mentally     defective     (which
           includes     a determination    by court,   board,    commission,      or
           other    lawful   authority  that  I am a danger      to myself    or
           others     or an incompetent    to manage my own affairs

     •     Nor have        I been involuntarily                held           for     a mental         health
           evaluation        within  the last               5 years.

     •     I have       never    been    committed              to   a mental          institution.

     •     I have       never    renounced         my United               States      citizenship.

     •     I am not        an alien      illegally              in   the      United      States.

     •     I am not        prohibited         from    possessing               firearms         under      federal
           or state        law.


           3
        Unlike            with the ATF Form 4473, however,   POLYMERB0's
website  does            not require  an attestation, nor is the form signed
and submitted             by the buyer under penalty  of perjury.


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•     I have        not had any suicidal                      thoughts    or suicidal    ideations
      now or        at any time prior    to                   my presence    here today.

•     I will not use any of the                            training           and     instruction                  provided
      for any unlawful purpose.

•     I have read and understand                          all    legislation        that   pertains                              to
      ownership   of 80% products,                        building        a firearm      at home,                             and
      firearm   ownership  in the                      State    that      I reside     in.

           52.       After         acknowledging             by checking              the      box       on

POLYMERSO.COM, SSA Hamilton                            placed           the    order        for      the           two       kits,

costing           a total          of    $1300.96       ($590.00          each,         plus       tax)       .    4     POLYMERSO

did      not      verify      any        specific      identifying                  information               provided                by

SSA Hamilton,                which        would      have     been       required           in     order               for

POLYMERSO to                have        conducted      a NICS background                       check.

          53.        On the         same date,         SSA Hamilton                  received            an email

titled          "Transaction              Receipt      from        POLYMERSO for                  $1300.96                   (USO)"

from      "noreply@mail.authorize.net."                                  Merchant           contact                information

was      listed       as:     POLYMERSO INC,                 Dayton,          NV 89403           US,

support@polymerSO.com.

          54.       On or      about         April     10,      2020,         SSA Hamilton,                   again           acting

in    an undercover                 capacity,         sent      an e-mail             to

"support@polymer80.com"                         requesting              an update           on when                shipment            of

the      order      could      be expected.

          55.       That      same day,             SSA Hamilton              received           an e-mail                   from

"support@polymer80.com"                         stating,           "I    am going           to     see        if        I can't



          4
            POLYMERSO notes       on its    website    that,   in addition      to
payment       by credit   card,     it accepts      payment   by money order,
cashier's       check,   personal      check,   or company check.          Based on my
training       and experience,        some of these      forms of payment        could
allow      for the payer      to pay either       anonymously     or by false       or
fictitious        name.


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get      these          out        in     the        next      few days,                we have            a very          limited            crew

and      are       trying           to        get      stuff         handled.                 Watch        your      e-mail            for

tracking."                   The e-mail                 was signed                  "Al M, Director                       of     Customer

Support."                   Later         that         day,         SSA Hamilton                received             an e-mail                from

"sales@polymer80.com."                                       The e-mail                indicated            that          the      purchased

items           had     shipped.

            56.         On or           about          April         20,      2020,           SSA Hamilton                 and        another

ATF SA obtained                         the         items      from        a UC location                    in     Los Angeles

County.               SSA Hamilton                     then         transported                the     items         to         the    ATF Los

Angeles            Field         Division               in     Glendale,                California.                  The package

shipping              label         showed             the     SUBJECT PREMISES as                            the         return

address:              Polymer80                Fulfilment                 Team,         Polymer80,                Inc.,          134 Lakes

Blvd.,            Dayton         NV 89403.

            57.         Later           that         day      SSA Hamilton                    opened        the      package                in my

presence.                 The package                   contained                 a POLYMER80 invoice                            dated

February              26,       2020,          and      two black                 plastic        pistol            cases           with

"P80®"           over        "POLYMER80" molded                            into         the     top        covers.

            58.         One pistol                   case      was labelled                    "POLYMER80 PF940C                            COMPACT

BBS."       5     Unlike            the        parts         that         POLYMER80 asked                    the         ATF to            render

an opinion                on,       as        I discussed                 above,         this        kit      appeared                to

contain           all        components                 necessary                 to    assemble            a complete                 pistol,

as    well        as      two milling/drill                           bits         to    be used            in     the         completion

of    the       pistol.                 The slide              was completely                    assembled,                    including

installation                  of        the      barrel             and    captured             recoil           spring.               The

included              magazine             had         a 15-round                 capacity,            rather            than         the     10-


          5
                I understand                    "BBS"          to     be an abbreviation                           for         "Buy Build
Shoot."


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round      magazine       that     was ordered,              in    violation            of California      Law

at   the      time.     Neither       the   frame,           nor     any of       the     component     parts,

included         a manufacturer's           serial           number.




        59.       The other       pistol         case    was labelled              "POLYMER80 PF940v2

STANDARD BBS."             It    appeared         to    contain        all      components         necessary

to   assemble         a complete       pistol,          as    well     as      two milling/drill           bits



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to    be used      in     the      completion            of   the    pistol.            The slide            was

completely         assembled,             including           installation              of    the      barrel       and

captured        recoil          spring.          The included           magazine             had     round       count

holes      indicating            that     it     has     a 17-round            capacity,            rather       than

the     10-round         magazine         that         was ordered,            also     in violation               of

California         law at          the    time.




         60.     On April           28,        2020,     SSA Hamilton,                who is        also     an ATF

Firearms       and       Ammunition             Interstate          Nexus       Expert,        built         a



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complete           handgun             assembled            from        the         components              contained                 in     the

POLYMER80 model                    PF940C          Buy Build                 Shoot         Kit      that      he purchased                       in

an undercover                   capacity.                The build,                 which         began       at     approximately

11:10       a.m.,         occurred           at      the        ATF Los Angeles                      Field          Division

office        in     Glendale,              California,                 and was recorded.

          61.        It     took         SSA Hamilton                  less         than         19 minutes            to mill               the

frame       blank,          including              his      inspection,                    narration,               and

transitions               between           his      work        areas.              The tools              SSA Hamilton                     used

to     complete           this      process              included             a power             hand      drill          (with           the

two drill           bits         provided            by POLYMER80),                        a Dremel           rotary            tool

(with       three         different               wheels/bits),                     a hobby          knife,          a utility

knife,        sand        paper,          and      needle          nose        pliers.

          62.        During            assembly,            SSA Hamilton                        encountered            issues

beyond        those        normally               expected             for     fitting              new parts              to     a

firearm.             The PF940C              instructions                     provided              by POLYMER80 stated

that      "after          the      milling           is     completed,                    the     build       process             seems            to

be where           most      people          get         into      trouble,                particularly                during

assembly           and      cleaning,"               and        that         some hand              fitting          may be

required.             At this             time,          SSA Hamilton                 determined               the         PF940C            was

not      operable           in     its      current             condition,                 and      stopped          the        attempted

build,        and     the        recording,                at    approximately                      12:08      p.m.

          63.       Over         the      course           of    the         next         two hours,           SSA Hamilton

troubleshot               the      problem.                He viewed                the     YouTube           video         "pf940c

PSO g19 trigger                    reset          issue"         posted             by user          Thyertek.                  The

presenter            in    the      video          stated          that        he contacted                   POLYMER80

regarding           the         inability            of his            trigger             to     reset.            According                to

the      video,       POLYMER80 told                       him that            this         was an issue                   with        its


                                                                       30
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rear       rails,          that        there              could            be a burr                   on the          metal            insert            where

the      trigger          bar        meets              it,        or      the         part        was mis-stamped.

POLYMERBO advised                           the     presenter                      that          a quick             fix      was to               file         off

the      burr,         and      failing                 that,            POLYMERBO could                            send      a replacement

part.            According             to         the         video,             POLYMER80 also                        advised               that         the

metal         arm of          the      part         might                be bent              too        far        inward,             in    which

case       its        inner         edge         should              be         filed.

           64.         Based         on this                  video,             SSA Hamilton                       determined                that             the

issue         appeared            to       be a quality                          control              matter           for        the        kit         he

received,              rather          than         a design                     flaw         of       the      kits         generally.                        SSA

Hamilton              followed             the      instructions                            in     the         video         and    modified                    the

part.            After        re-installing                          all         the        components                 into        the        frame,

SSA Hamilton                  resumed              the            building               of      the         kit,      and        the        recording,

at      approximately                  2:29         p.m.                 SSA Hamilton                        then      completed                   the

firearm           and     successfully                            test-fired                  twice            using         9mm caliber

ammunition               that       had       the             projectile                    and propellant                        removed.                     SSA

Hamilton              ceased         the      assembly                     at      approximately                       2:34        p.m.

          65.          SSA Hamilton                      determined                      that          the      purchased                POLYMER80

model         PF940C          Buy Build                  Shoot             Kit         is     a "firearm"                    as    that            term         is

defined           under         18 U.S.C.                     §    921(a)(3),                    as     a weapon              designed                   to,     or

that      may readily                  be converted                         to,          expel          a projectile                     by the
                                                         6
action           of    an explosive.                               In      addition,                  SSA Hamilton                  determined

that      the         purchased              POLYMER80 model                                PF940C            Buy Build             Shoot               Kit      is

also      a "handgun"                  as     that                term      is      defined               under            18 U.S.C.                §



          6
               ATF Chief   Counsel  has also determined                                                             that    the              Buy Build
Shoot         kits are,   as a matter   of law, firearms                                                             pursuant                to 18
u.s.c.         § 921(a)  (3).


                                                                                  31
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921(a)         (29)      as        a combination               of      parts          from   which           a firearm          having

a short              stock         and      designed         to     be held            and   fired           by the      use     of     a

single          hand         can     be assembled.                     The     firearm          is     pictured          as

follows:




          F.           Undercover   Purchase and Assembly                                     of POLYMER80 Buy
                       Build  Shoot Kit by Confidential                                      Informant

          66.          On or         about        March        3,    2020,         a different               ATF UC

purchased              two         Buy Build           Shoot        Kits       from        POLYMER80's               website.

The UC used                  the     same        procedures             as     SSA Hamilton              to     purchase          the

kits,      as        described              above.           The     UC purchased                the     same         models      and

colors          as     SSA Hamilton,                   one     "P80®         Buy Build           Shoot™           kit     PF940v2           -

10 Round             Magazine"              in    black        color         and      one    "P80®       Buy Build              Shoot™

kit      PF940C         - 10 Round                Magazine"             in     flat      dark        earth      color.           The

UC obtained                  the     kits        in   Riverside              County,         California               on or      about

June      16,        2020.           The package               shipping            label        showed         the      SUBJECT


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PREMISES as                the      return            address:                Polymer80             Fulfilment                   Team,

Polymer80,               Inc.,          134 Lakes             Blvd.,               Dayton         NV 89403.                     Each      kit

appeared           to      contain             all     components                   necessary                 to    assemble              a

complete           pistol.               Unlike             the        kits        received             by SSA Hamilton,

these        two kits             included             the         requested               10 round                magazines.

Neither           the      frame,          nor        any         of    the        component             parts,                included             a

manufacturer's                    serial             number.

            67.         On or       about            July         9,    2020,        I presented                    an ATF

Confidential                 Informant                (the         "CI"),           who has             experience                 as     an

automobile               mechanic              and     who has                previous             experience                   with

firearms,            with         the         POLYMER80 model                       PF940v2             Buy Build                Shoot          Kits

that        was purchased                  by the            UC.          According                to    the        CI,         who is          a

convicted               felon,          the      CI had            never           assembled             a POLYMERBOpistol

before.            I directed                  the     CI to            attempt            to      assemble               a complete

handgun           using          only      the        components                   contained             in        the         POLYMER80 Buy

Build        Shoot         Kit.          Prior         to         initiating               the      build,               the     CI viewed

publically               available               YouTube               videos        to        familiarize

himself/herself                     with         techniques                   to    mill        the      frame            module          as        well

as     to    assemble             the      components.

            68.         The build             process              occurred               at    an ATF controlled

location           within           Los Angeles                    County.                SSA Hamilton                    and      I watched

the     entire           assembly,              which         we recorded.                         The CI used                   his/her                own

personally-owned                        tools         to     complete               the        build,          including                a C-

clamp,        power         drill,            nippers,                 Dremel        tool,            file,         wire          cutters,

needle        nose        plyers,             hammer,              and punch               tool.              ATF agents                did         not

provide           any      guidance              on what               tools        or     techniques                    to     use     to

assemble           the       kit.


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             69.      The CI began                     assembly               at        approximately                     2:41        p.m.,        and

was able            to       successfully                    complete              the         build          of     a functioning

handgun            by approximately                          3:02      p.m.              The total                 time        to     mill        the

frame         module           and      assemble               the      components                    into         a completed

firearm            was approximately                           21 minutes.

          70.         SSA Hamilton                     inspected                  the         firearm          and        saw that               the     CI

did     not        install             the      trigger              safety             lever         within            the      trigger

shoe.          The trigger                    safety           lever          is        not        critical             to     the

functioning                  of the            firearm,              and      is        simply            a safety              feature.                SSA

Hamilton            also         saw the              slide          lock         spring            was installed                     in     an

incorrect             orientation.                          Insufficient                     pressure              to     the        slide        lock

can     result            in     the         slide         coming           off         the        handgun           during           dry-firing

(pulling            the        trigger           without              a round                 of    ammunition                  chambered),

and     is     less          secure           when          firing          live         ammunition.                      Because            of        the

potentially                unsafe             condition,                SSA Hamilton                        reinstalled                 the       slide

lock      spring           and         slide          lock,          a process                 that         took        approximately

one minute.

          71.         On or          about            July       14,        2020,             SSA Hamilton                    test-fired                the

handgun            using         a round              of     commercially-available                                     9mm caliber

ammunition                that       had        the        projectile                   and propellant                        removed.                 SSA

Hamilton            inserted              the         primed          cartridge                    case       into        the        chamber,

and     closed           the      slide.               Upon SSA Hamilton                              pulling             the        trigger,

the     firing           pin      struck              with      sufficient                     force          to     detonate              the

primer.             SSA Hamilton                      repeated              the         test        using          another            primed

cartridge             case        with          the        same       result,                 and     the      firearm               appeared

operable.                The firearm                   is      pictured                 as     follows:




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          72.       SSA Hamilton          determined           that      the    purchased         POLYMER80

model          PF940v2      Buy Build      Shoot       Kit     is     a "firearm"          as    that     term      is

defined          under      18 U.S.C.      § 92l(a)          (3)    as   a weapon        designed         and

readily          converted       to   expel    a projectile                  by the     action      of    an
                    7
explosive.                 SSA Hamilton       determined              that     the    purchased          POLYMER80

model         PF940v2       Buy Build      Shoot       kit     is     also     a "handgun"          as    that

term      is     defined      under     18 USC     §    921 (a) (29)           as     a combination            of




          7
         As noted    above,   this  determination        is consistent    with                                    the
determination      of ATF Chief    Counsel     that   the Buy Build     Shoot                                    kits
are,   as a matter     of law, firearms      pursuant      to 18 U.S.C.
§ 92l(a)    (3).


                                                         35
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parts       from          which        a firearm               having         a short               stock          and      designed              to

be held           and       fired       by the            use       of   a single               hand         can         be assembled.

          73.          Because          POLYMER80 shipped                           these           Buy Build               Shoot          Kits

from      the        SUBJECT PREMISES,                         located          in       the        state          of Nevada,               to       a

customer             in     California,              I believe                there            is     probable              cause          to

believe           that       POLYMER80 has                     committed             violations                    of      18 U.S.C.              §§

922 (a) (2)               (Shipment         or Transport                   of a Firearm                      by an FFL to                   a

Non-FFL           in      Interstate           or         Foreign          Commerce)                  and     922 (b) (3)              (Sale

or      Delivery            of    a Firearm           by an FFL to                       a Person             Not Residing                      in

the      FFL's         State),          as well            as       922(t)           (Knowing               Transfer             of    a

Firearm           without           a Background                    Check)          and        other         Subject             Offenses,

as    described              below.

          G.           Stamps.com             and Authorize.net      Records  Show POLYMER80
                       Shipments            to Potentially      Prohibited   Persons and
                       Locations
          74.          On or        about      June            5,    2020,          in    response                 to      a subpoena,                   I

received             records           from    the         company            Stamps.com,                    which          provides

mailing           and       shipping          services.                  According                   to     the         records,           BORGES

was the           account           holder          for        POLYMER80's                Stamps.com                     account.               The

account           was opened              on May 16,                 2013,          and        the        company           name       is

listed          as     "Polymer80.com."                         The e-mail                address                 for      the     account

is      david@polymer80.com.

          75.          The Stamps.com                     records            also        included                 shipping            label

records           created           by the          account.               These          records,                 dated         between

January           1,      2019      and     June          4,    2020,         included                date         and      time       the

labels         were         printed,          mail         class,          postage              cost,             confirmation

number,           item       weight,          the         name       and      address                of     the         recipient,              and

the      return           address.


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          76.          Also,         on or          about          June            17,         2020,          in    response                 to        a

subpoena,              I received               records                from         the         company             Authorize.net,                            a

credit          card      processor.                     POLYMERSO is                          listed          as        the         business

name,          with      the     SUBJECT PREMISES,                                 134 Lakes                  Blvd,            Dayton,                NV

listed          as     the      address,             and         the         website                 listed         was         POLYMERSO.COM.

Under      principal                 information,                      the         records              show        BORGES' name                           and

the      owner         e-mail         address              is      "sales@polymer80.com."

          77.          The Authorize.net                           records,                   which           include                records               from

January          1,      2019        to     June         16,       2020,            include                date          and         time         a

payment          was         submitted              by a customer,                             the      amount,                the        name         and

address          of      the     customer,                 the         telephone                     number         of         the         customer,

and      the     e-mail          address             of      the         customer.                      Some of                the         submitted

payments              appear         to    be       duplicates,                     so while                  viewing                the     data,            I

ignored          multiple             payments               from            the         same         individual,                     of      the          same

amount,          occurring                at    around             the        same             time.

          78.          On or         about          October              15,        2020,             in      response                to      a

subpoena,              I received               records                from         Stamps.com                     for         its         subsidiary

business              ShipStation.                   ShipStation                         is     a shipping                     software

company          that         provides              online             businesses                     with         order             processing,

production               of     shipping             labels,                 and         customer              communication.                                The

records          received             from          ShipStation                     are         similar             to         those          received

from      Stamps.com,                 but       also         includes                    the         order         price             of     the

shipped          item,          as    well          as     the         item         name             and      Stock            Keeping                Unit

("SKU")          inventory                identifier.

          79.          According               to    the         ShipStation                         records,              from            January

2019      through              on or        about          October                 13,         2020,          POLYMERSO shipped

approximately                   51,800          items            throughout                     the        United              States.                 At


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least          50,600          of    these           shipments                  were       sent          to     customers               located

in      states         other         than          Nevada.                POLYMER80 shipped                               approximately

9,400          items        to      customers                 in     California.

           80.         In addition,                     according                 to      the         ShipStation                 records,

from       July        2019         through             on or            about         October               10,      2020,          POLYMER80

shipped           at     least           1,490          Buy Build                 Shoot          kits          to     customers

throughout               the        United           States,              at      least          1,468          of which               were

shipped           to     individuals                    in     states             other          than          Nevada.               The most

recent           tracking            numbers             show the                Buy Build                   Shoot         Kits        were

shipped           by POLYMER80 from                            the        state          of      Nevada              to    customers             in

most       states,             as well             as    the         District              of         Columbia             and       Puerto

Rico.            According               to    the       records,                 the      four             states         that        POLYMER80

did      not      ship       Buy Build                  Shoot            Kits       to     were             Iowa,         Kentucky,            New

Jersey,           and       North         Dakota.                  In addition,                       the      records            show that

POLYMER80 sent                      at    least          202 Buy Build                          Shoot          Kits        to     California,

which       was the              most         of     any       state.

           81.         In my review                     of     the        records,               I have              identified               several

instances              where         POLYMER80 firearm                              components                   appear           to    have      been

transferred                 outside            of       the        United           States.                  I also         have

identified               instances                 where           POLYMER80 shipped                            Buy,        Build,            Shoot

kits       to     individuals                  within              the      United              States          who are              prohibited

from       receiving                or possessing                        firearms.

                       1.           Records             Pertaining                  to     Export              Law Compliance
           82.         According               to       22 C.F.R.                 § 120.2,                  "The      Arms Export

Control           Act       (22 U.S.C.                  2778(a)             and         2794(7))               provides              that      the

President              shall         designate                 the        articles               and         services             deemed         to     be

defense           articles               and       defense               services               for      purposes               of     import         or


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export            controls              .          . The          items          designated                                 constitute                 the

U.S.        Munitions               List           specified                in       part     121 of           this         subchapter."

            83.         In addition,                       based          on my training                      and      experience,                 I

know that               until           March         9,         2020,          under        22 C,F.R.              § 121.10:

"Articles               on the              U.S.      Munitions                  List        include           articles             in     a

partially               completed                  state          (such          as     forgings,              castings,

extrusions                and       machined                bodies)              which        have           reached         a stage           in

manufacture                where             they          are     clearly              identifiable                  as     defense

articles.                 If      the        end-item              is      an article                  on the         U.S.         Munitions

List        (including                  components,                  accessories,                      attachments                 and     parts

as     defined            in§           121.8),             then          the        particular               forging,             casting,

extrusion,               machined                  body,          etc.,          is     considered               a defense               article

subject            to    the        controls                of     this          subchapter,                  except         for      such

items        as     are        in    normal            commercial                     use."       8


           84.          As a result                   of     my training                     and       experience,                 I know that

international                     firearm             traffickers                     have     utilized               the      internet                to

facilitate               communications,                           coordination,                       and     purchases              to

illegally               traffic              weapons              and      weapons            parts.

           85.          Based        on my review                         of     records              from     Stamps.com

(including               ShipStation                   records),                  Authorize.net,                      and     my own

internet            research,                 I learned                   the        following,               which         leads        me to



       8 After     March 9, 2020,       all  parts     and items       for semi-
automatic      firearms      were removed     from 22 C.F.R.          § 121.10   and
became regulated          under   Department     of Commerce regulations.
Semi-automatic        firearm    parts    now fall      under    the provisions      of 50
U.S.C.    § 4819,     requiring     an export      license     from the Department
of Commerce for export           to specified        countries      as listed    in 15
C.F.R.    § 738.




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believe           that         POLYMERBOfirearm                          parts          are     being            shipped             to

international                       locations:

                        a.           According              to     the      Stamps.com               and Authorize.net

records,               one     individual                  with      initials             K.V.,      9    providing              an address

in     Hyattsville,                   MD, was the                  listed         recipient               of      five      Pistol

Frame         Kits           (not      Buy Build             Shoot          Kits),         as well             as additional

firearm           accessories                   from        POLYMERBOin                   August          of      2019.              Through          a

query         on the           website           Google.com,                   I learned             that         the     Hyattsville

address           is        associated            with            an "International                       Courier"              which

transports                  items       between             the     United             States        and       Guatemala.

                       b.            Another           address           in     Hawthorne,                CA, was listed                        as    a

recipient               address           for     shipments                 from        POLYMERBOto                     two different

individuals,                   S.M.       and     S.S.             S.M.        was the          listed            recipient                of       one

PF940CL           Pistol             Frame       Kit        (not      a Buy Build                 Shoot           Kit).          S.S.           was

the      listed          recipient               of     one        PF940v2           pistol          frame         kit      (not           a Buy

Build         Shoot          kit),       and      one        pistol            slide       parts          kit.           A query               on

the      website             Google.com               showed          that        the      Hawthorne               address                is

associated               with         a mail          forwarding                company           that         transports                  items

from      the        United           States          to     over        220 other              countries.

                       c.            Also,       an individual                    with        initials             T.M.         at        an

address           in     Blaine,             WA, was listed                     as      a recipient                for     one            PF45

pistol          frame          kit      (not      a Buy Build                   Shoot         kit)        shipped          from

POLYMER80 in                  February            2019.             This        location             is     less         than         one mile

from      the      Canadian              border.                 The recipient                  address            is     for         a



          9
         For privacy      considerations,           names,   addresses,     and other
personal    identifying      information          for individuals       have been
anonymized     throughout      this    affidavit.


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package            and     freight          receiving                company.             I have               not     identified

T.M.,         but    T.M.'s          telephone                number          has     a Vancouver,                     British

Columbia            area         code      (604),         and        T.M.'s          e-mail         address                is    with      the

Canadian            internet             service          provider              Shaw.ca.

             86.     Additionally,                  based            on my review                  of     a recently-filed

criminal            complaint,              I understand                    that      four         individuals                   have      been

charged,            in     the     United          States            District            Court           for     the        Central

District            of     California,              with            allegedly            selling               ghost        guns

without            a license,             and      are        alleged           to    have         also         shipped           export-

controlled               firearm          parts          to    Lebanon.

                     a.           Based       on my review                    of     records,             I identified                    one

of     the     individuals                charged             in     the      case       as    an Inglewood,                      CA-based

customer            who has          purchased                Buy Build              Shoot         Kits         and other               items

from         POLYMER80.              According                to     records          I have             reviewed,               this

individual               has      paid     POLYMER80 over                       $22,000            for        purchases             in

February            and April             2020      alone.

                     2.           Records  Pertaining  to Transfers                                            of Buy,           Build,
                                  Shoot Kits to Prohibited    Persons                                           in the           United
                                  States
             87.     Based         on my review                     of     these      and      other            records,            I also

identified               customers            and        shipping             recipients                 of     POLYMER80 who

appear         to    be prohibited                  from           possessing             firearms:

                     a.           An individual                    with       initials             J.S.         at     an address                in

Salinas,            CA, was          listed         as        the        recipient            of    two Buy Build                       Shoot

Kits         from    POLYMER80 in                  September                2019.         I queried                  the        address




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associated                 with      the        purchase                   in    Accurint.             10     According                to

Accurint,             J.S.          is     associated                  with            that       address.                According                  to

J.S.'s          criminal             history              records,                 on or          about        October            24,        2005,

J.S.      received                a felony               conviction                    in      Santa        Clara         County            Superior

Court          for    Assault              with          a Deadly                Weapon,              Not    a Firearm,                 in

violation             of     California                   Penal             Code            (~CPC")         Section          245(a)           (1).

In     addition,             on or            about           February                 24,      2010,        J.S.         received               a

felony          conviction                 in         Monterey              County             Superior            Court         for

Inflicting                 Corporal              Injury          to         a Spouse/Cohabitant,                             in        violation

of     CPC Section                 273.S(a).

                      b.           An individual                       with            initials             M.P.      at     an address                   in

Santa         Cruz,         CA, was             the       listed                recipient              of    one      Buy Build                  Shoot

Kit      in     September                2019.            According                    to      Accurint,            M.P.         is

associated                 with      that             address.                  Also,          according             to    Accurint,                  M.P.

was      only        18 years              old         when      the            item        was       shipped.             Under            18

U.S.C.          § 922(b)            (1),         it      is     unlawful                 for         an FFL to            sell         or    deliver

a handgun             to     any         person           the         transferor                     knows     or     has        reasonable

cause         to     believe             is     under           the         age        of      21.      Based         on my training

and      experience,                 I know that                      if        POLYMER80 had                  conducted                a

background                 check,          as         required              by an            FFL when          selling            a firearm,

NICS would                 have      likely              flagged                and/or          denied         the        transaction.

                      c.           An individual                       with            initials             R.P.      at     an address                   in

Chicago,             IL,     was         listed           as     the            recipient              of     one     Buy Build                  Shoot

Kit      from        POLYMER80 in                      December                 2019.           According             to     Accurint,



          10
           Accurint                   is an online   tool                               operated             by LexisNexis      that
provides     access                  to a comprehensive                                  database             of public    records
information.


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R.P.         is     associated                with          that        address.                 According               to      his        criminal

history             reports,               the        State        of    Illinois                lists          R.P.        as

"Disqualified"                        from        possessing                  firearms.                  In addition,                   R.P.'s

criminal                history            records            shows           that        R.P.        has       received               multiple

felony            convictions.                        On or about                   October           9,      1985,         R.P.        was

convicted                in     Cook County                   Circuit               Court        of      a felony             for

Manufacture/Deliver                               Controlled                  Substance,                 in     violation               of     56.5-

1401-A            IL.          Also,        on November                  6,         1989,        R.P.         was convicted                    in

Cook County                    Circuit            Court        of       a felony             for         Robbery,             in       violation

of     38-18-1                IL.      On or           about        April            8,     1996,          R.P.        was convicted                   in

Cook County                    Circuit            Court        of       a felony             for         Aid,      Abet,            Possess,

Sell         Stolen            Vehicle,               in    violation                of     95.5-4-103-A-1                       IL,        and

Vehicle            Hijacking,                    in    violation               of      720 ILCS 5.0/18-3-A                              IL.

                         d.           An individual                     with         initials              T.J.        at     an address               in

Salisbury,                MD, was listed                       as       the         recipient              of     one       Buy Build

Shoot         Kit        in August                2020.            Tracking               details             from       UPS show that

the     item         was sent                from          Nevada        to      Maryland.                    According                to

Accurint,                T.J.         is    associated                  with         the     Salisbury                 address.

According                to     T.J.'s            criminal              history,             on or            about         May 30,            2019,

T.J.      was convicted                       in       Wicomico               County         District              Court            of Assault

in     the        Second            Degree,            in     violation                of    CR.3.203,                 a misdemeanor

punishable                by up to                10 years'              imprisonment,                        a conviction                   which

precludes                T.J.         from        possessing                  firearms.

                         e.           An individual                     named          H.N.        at      an address                  in     Elk

Grove,            CA, was listed                       as the           recipient                of      one      Buy Build                 Shoot

Kit     from         POLYMER80 in                      December               2019.          According                 to     Accurint,              two

individuals                    with        initials            H.N.           are      associated                 with        the       Elk       Grove


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address.              According             to     Accurint,                the      younger              of the           two

individuals                was only           18 years               old       at    the        time        of     the        shipment,

and     therefore             was precluded                     from       purchasing                  a firearm.                    In

addition,             according             to     the      criminal                history            records             of       the     older

H.N.,         on or        about        January           15,        1999,          H.N.       was convicted                        in     Santa

Clara         County        Superior              Court         of    a felony                for      Sex with               a Minor             3+

Years         Younger,            in    violation               of    CPC Section                    261.5(c).

                      f.          An individual                  with          initials              V.R.        at      an address                in

Vallejo,          CA, was the                 listed            recipient                of     one       Buy Build                 Shoot         Kit

from         POLYMERS0 in               April           2020.         According                 to     Accurint,                two

individuals                with        initials           V.R.        are         associated                with         the        address.

According             to    Accurint,              one      of       these          individuals                  died          in    2002.

According             to    criminal              history            records,              the       living           V.R.          was

convicted             on or        about          November            4,       2003       of        a felony             in     Mendocino

County         Superior            Court          for     Second            Degree            Burglary,               in      violation

of    CPC Section                 460(b).

                      g.          An individual                  with          initials              Z.S.        at      an address                in

Tempe,         AZ, was the                listed          recipient                 of    one        Buy Build                 Shoot        Kit

in    March       2020.            According              to Accurint,                     Z.S.        is     associated                   with

the     Tempe address.                      According                to     criminal                history           records,              Z.S.

was charged                with        Assault           with        a Deadly             Weapon            with         Force            Likely

to    Cause       Great           Bodily          Injury,            in    violation                 of     California                    Penal

Code     Section            245(a)         (4),         and Battery:                 Serious              Bodily           Injury,            in

violation             of    California                  Penal        Code       Section              243(d),             in     July        2019,

and     is     also        subject          to     a restraining                     order           in     relation                to     these

charges,         both        of which              were         pending             at    the        time        of      Z.S.'s

purchase         of        a Buy Build                  Shoot        kit       from        POLYMER80 in                    March           2020,


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and      both        of      which        are     still          pending.                 Like          with        the         instances

discussed              directly             above,         I know from                    my training                        and      experience

that,          had     POLYMERBO conducted                             the        required              NICS background                          check

to      sell       Z.S.          a firearm,            NICS would                  have         flagged                 Z.S.       as   a

prohibited                  individual            and      any         firearms               transaction                      would        have

been       denied.

                       h.           Also,        based          on my training                       and          experience                and

knowledge              of        this     investigation,                         I know that                 it         is     possible               for

individuals                  to     purchase           Buy Build                  Shoot         Kits         from            POLYMERBO

under          false         names,         or    in      the        names          of    other            individuals.                      For

example,             a Buy Build                 Shoot          Kit        was      shipped             by POLYMERBO in                          May

2020       to      "Gracie              Muehlberger"                  at     an address                 in        Santa         Clarita,               CA.

According              to        multiple         media          reports                including                 USA Today              and          the

Los Angeles                  Times,         Gracie         Muehlberger                    was a 15 year                         old      girl          who

was      killed             in    the     shooting              at     Saugus            High        School              on November                   14,

2019,          by a minor                who was using                     a ghost            gun.

                       i.           Based        on my review                     of     records             and         research,               it

appears            that          although         POLYMERBO sells                         directly                 to        customers,                it

also       sells            large        quantities              of        its     products                on a wholesale                        basis

to      businesses                throughout              the         country.                One such              business                is        F&F

Firearms,              located            in     Norco,          CA.             According              to        the        records,

between            April          2019      and     February                 2020,         F&F Firearms                        (an      FFL)

received             11 shipments                 from          POLYMERBO from                       the          SUBJECT PREMISES.

Between            February              2019     and      June            2020,         F&F submitted                         over      $200,000

in      payments             to     POLYMER80.              According                    to     F&F's             website,

fandffirearms.com,                          it    describes                  itself           as     "Your              #1 source            for

80% Builders."                          Though     currently                     said      to      be      out          of     stock        on the


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F&F website,               the       POLYMER80 Buy Build                       Shoot       Kit        is     one   of       the

products             offered         by the          company         on its       website.                 Currently,

manufacturing                  or    assembling               a firearm         made       with        POLYMER80 pistol

frames         is     unlawful           in       California.            11


         H.           POLYMER80's Instagram                          Account

         88.          On or         about     April           19,    2020,      ATF SA Monica                  Lozano

viewed         the     publicly-available                         Instagram         account            for

polymer80inc.                   The account                posted         a video        dated         two days             prior,

on or      about         April          17,       2020.         In the        comments,           polymer80inc                    wrote

"Why P80 80% Frames                         are      in    high      demand?"           and      followed          with:

         Our sponsored         shooter    and trainer/owner       of
         @tacticalfitnessaustin             Ron Groban explains       why our 80%
         Pistol      Frame Kits      are in high demand right         now.   While many
         items     are showing       out of stock      on our website,     we are
         producing       80% kits      as fast  as possible.       We advise    you to
         visit     out our dealer        page at Polymer80.com        for a list      of
         our dealers!          Most of what we produce          is shipped   to them
         directly,       and they have been great           about promoting      in-stock
         P80 items.


         89.          In the         posted          video,         an individual                is    holding          a

completed             POLYMER80 pistol                     and      speaks      directly              to     the   camera.

The individual                   says       a lot         of people           contact         him about            their

         11 Since     2010, CPC § 32000(a)             has prohibited          the
manufacturing          in the state          of California      a handgun        not listed        on
the roster         of certified        handguns      found at 11 CA ADC§ 4070.
Effective        January     1, 2019, California           enacted        CPC § 29180,       which
requires       all   firearms       to have a unique         serial       number and
provides       additional        instruction       in regards       to "self-made"
firearms.          In addition,        § 29180 (b) (2) (B) requires             a firearm
manufactured         or assembled          from polymer      plastic       to include       3.7
ounces      of material        type 17-4 PH stainless             steel      embedded within
the plastic         upon fabrication           or construction,           so that     a unique
serial      number can be engraved              or otherwise        permanently        affixed
to the firearm.            The POLYMERBO unfinished               pistol      frame does not
contain      3.7 ounces        of type 17-4 PH stainless                steel     embedded      in
it,    as required        under California           law.


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difficulty                     trying             to    buy        firearms,                The individual                     states         that

POLYMERBOallows                              people            to     build          firearms              themselves.                  He

further                 states          that           "you        don't        have        to        worry      about         the

background                     check."                 He also         mentions                  individuals             can      have        the

items              shipped             to    their           homes.             In the            comments          section             of

polymer80inc's                          post,           user         "ellipsis415"                      wrote      "I    wouldn't             be

touting                 'don't          have           to    worry         about           the        background           check'            as     a

bonus              to    the          PBO system."                    User       polymer80inc                    responded

"@elllipsis415                          background                   checks          are     NOT an infringement?"                                  User

ellipsis415                      then        said,           "@polymer80inc                       I didn't          say        that.           I said

it      sounds               like       you're              trying         to    market                them     towards         people            who

wouldn't                 pass          a background                   check."               Account             polymer80inc                 did        not

respond                 to     that         statement.

              90.            On or          about           June      11,       2020,            in     response         to      a subpoena,

SA Lozano                    received              subscriber               records               from        Instagram              LLC for

account                 polymer80inc.                        According               to     the         records,         the         account            was

first              registered                on August                3,    2015.            The e-mail                 associated                with

the      account                 is     "alex.brodsky@polymer80.com."

              I.             Surveillance                    of      the    SUBJECT PREMISES

              91.            On or          about           October         20,       2020,             I queried          the         SUBJECT

PREMISES on the                             Lyon County,                   Nevada           Property             Assessor              webpage.

The results                      of the            query          showed         that            the     SUBJECT PREMISES is

currently                    owned by Polymer80                            Properties,                   LLC.       The property                    has

been      held               by the          current              owner         since            December          2016.          According

to      the         records,                the        mailing         address              for         Polymer80          Properties                   is

C/0      DAVE BORGES, at                               an address               in    Fairfield,                 CA previously

associated                    with          BORGES,               The records                also          show     that         the     SUBJECT


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PREMISES property                        is     three        acres,             and has             a 14,745              sq.         ft.        one-

story         building             structure.

             92.         On or      about        October            23,         2020,          ATF Task             Force             Officer

(uTFOn)            Michael          Stewart           conducted                 surveillance                   at     the        SUBJECT

PREMISES.                 TFO Stewart                took     photographs                      and made videos                          of        the

structure                and parking               lot.       Based             on my review                   of the

photographs,                    video,        and     Google.com                     satellite            images,               the         SUBJECT

PREMISES is                    a gray      and       tan     building                 that       is      isolated               from         other

properties.                     The SUBJECT PROPERTY appears                                        to    be over               1,000             feet

away         from        the     nearest         neighboring                    structure.                    The main                entrance

appears            to     be through             double            glass         doors           on the            northwest                 corner

of     the      structure.                 At the           time         of     TFO Stewart's                      surveillance,

approximately                    25 vehicles                were      parked              in     the      parking               lot         of     the

SUBJECT PREMISES.                          In    addition,                what          appeared              to    be multiple

Conex         box        storage         containers                were         in      the      parking            lot         for         the

SUBJECT PREMISES.

             93.         On or about             December                4,     2020,          at      approximately                        5:25

a.m.,         TFO Stewart                returned            to     the         SUBJECT PREMISES.                               As he drove

through            the     parking            lot,        TFO Stewart                   saw a White                 Dodge Ram

parked          near       the      entry        doors        of         the         SUBJECT PREMISES.                           It         was         the

only     passenger                 vehicle           parked         at         the      business.                  As he continued

through            the     lot,         he saw through                    the         window           that        lights             in     the

structure               were       on.        TFO Stewart                 also          saw a woman sitting                                 at     a

desk         inside        an office             within            the         SUBJECT PREMISES.                            TFO Stewart

then      exited           the      parking           lot     and drove                   up the          street            where            he

could         watch        vehicles             arriving            at         the      SUBJECT PREMISES.                               At

approximately                    5:49      a.m.,          another             vehicle            pulled            into         the         parking


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lot       of      the        SUBJECT PREMISES and parked.                                    Approximately                     four

additional                   vehicles          continued          to        arrive         over        the       course         of     the

next       15 minutes.                    There        was no more               traffic             into        that     parking

lot       until         approximately                  6:54      a.m.        when vehicles                   began         arriving

again.             From that              time      until        approximately                    7:58       a.m.,

approximately                      13 more         vehicles           arrived           at     the       SUBJECT

PREMISES.                    TFO Stewart            departed            the      area        at      approximately                    8:05

a.m.

               VII.          TRAINING AND EXPERIENCE IN THE SUBJECT OFFENSES
           92.          From my training,                     personal               experience,                 and     the

collective               experiences                related           to     me by other                ATF SAs who

specialize                   firearms        investigations,                     I am aware                 of    the      following:

                        a.          Individuals              and businesses                    who possess                and

regularly               purchase            and     sell      firearms,               such        as     enthusiasts,

collectors,                   and dealers             both       in     black         markets            and      legitimate

markets            and        FFLs,       generally           maintain               records           of    their         firearm

transactions,                      including          receipts             and       certificates,                  as     items         of

value,           and usually                keep      them       in     their         residences,                 places         of

business,               vehicles,            digital          devices,               or on their                 persons,             where

they       are      readily              accessible           and       secure.

                        b.          FFLs generally                maintain              certain             records         at        their

places           of business,                but      occasionally                maintain               records          at

residences,                   or    in    vehicles,           including               on computers                  and     other

digital           devices.                These       records           include           their          firearm

Acquisition                   and     Disposition             Logs,          ATF Form 4473s,                      records

pertaining               to        background          checks,             firearm           importation                 and

exportation                   records,          as well         as     other          customer              and     transaction


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records.             Also,          manufacturers                      of     firearms              generally            maintain

records        of        their         suppliers              and       customers.                   These          records           may be

maintained               within           physical            documents,                  retained            digitally,               or      in

some      combination                  of    the     two.

                     c.           Businesses              generally                 maintain               additional             records

regarding           business                operations.                     This       includes             records

documenting                the      organization                  of        the     business,               the      officers,

managers,            and         lower       level        employees.                      Financial               records         will

often       also         be maintained                   at      the        business.

                     d.           Individuals                 who regularly                     deal        in     and      collect

firearms           store          these        firearms             at        their        residences                and places                of

business,            often          in      warehouses,                 garages,               gun safes,             storage

containers,                or     other        storage            locations,                   to    safely          store        their

firearms           and      limit           access        to      others            as     a safety              precaution,                and

to      keep   their            valuable            merchandise                    from        getting           damaged.

Firearms           are      also          stored         in    these             places         to     prevent           theft.

                    e.            I know that                 individuals                  and       FFLs engaged                 in

firearm        manufacturing                       and    sales             often         store        firearms             and       firearm

components               that       are      in     various             stages            of    completion               in    their

residences,                places           of business,                    or vehicles,                   within        workshops,

warehouses,                garages           or     other         places            where           they     manufacture                  or

store       firearms              or      firearms            parts.              These         same        individuals,

businesses,                or     FFLs also              store          firearm            tools,           firearm           jigs,

assembly           kits,          CNC coding              software                or     codes,            and     other       firearm

manufacturing                   devices           and     tools             in    these         same work             spaces           within

their       residences,                  places          of businesses,                        or vehicles.




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           93.         Based           on my training,                       experience,              discussions                    with

 other         law     enforcement                    officers,              and participation                        in     firearms

 investigations,                       including             the       manufacturing                  and       sales          of

 firearms,             and         how computerized                      machines             such       as     a CNC machines

are       used       in     the        manufacture                of     firearms,              I have          learned              that:

                       a.           Firearms             dealers             and/or          manufacturers                   commonly

utilize           CNC mill               machines           that         have        the      capability               to      store

programs             or     codes            to manufacture                    firearms          and      firearms              parts.

                       b.           Firearms             dealers             and/or        manufacturers                     who utilize

CNC mill             machines               maintain             and     use     other         digital           devices              and/or

removable             media            to     store        programs             or    codes          needed       for         the       CNC

mill      machines               to     manufacture                lower         receivers.                   I know that                    the
CNC mill             machines                are     computer            programmed              and      calibrated                  to

specifically                 machine               metal      to       the      specific             configurations                     of     the

operator             and      is       utilized            by firearms                manufactures                to         keep       count

of how many                 firearms               are     produced            by the          CNC and           to        ensure

consistent                machining                methods         are        used      for      each         firearm           produced.

                      c.       Firearms                  dealers          and/or           manufacturers                    utilize
                      •
computers,              iPads,      flash                drives         and      other         digital           devices              to

store          customer            lists,           photographs,                 transactions                  records,

firearms             design            and manufacturing                       instructions,                   and         digital

messages             that        are        related         to     and        further          firearms           manufacturing
and      sales.

                      d.           Firearms              dealers          and/or           manufacturers                    commonly

maintain          address               or     telephone               numbers          in     computers              and       cellular

telephones                that        reflect            names,         address,             and/or           telephone               numbers

of     their      associates                   and       customers             related          to     firearms               dealing.


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               VIII.                     TRAINING AND EXPERIENCE ON DIGITAL DEVICES 12
              94.        Based           on my training,                        experience,                   and         information                   from

those          involved                 in    the          forensic          examination                  of digital                     devices,             I

know that                the        following                electronic              evidence,                  inter            alia,           is

often          retrievable                    from          digital          devices:

                         a.             Forensic             methods           may uncover                     electronic                 files          or

remnants              of         such        files          months        or     even           years         after          the         files        have

been          downloaded,                    deleted,              or viewed              via      the         Internet.                  Normally,

when a person                       deletes                a file        on a computer,                       the         data      contained

in      the      file            does        not      disappear;                rather,            the        data         remain           on the

hard          drive        until             overwritten                 by new data,                   which             may only               occur

after          a long             period             of     time.         Similarly,                  files           viewed             on the

Internet              are         often            automatically                 downloaded                    into        a temporary

directory                or       cache            that      are      only       overwritten                    as        they      are

replaced              with         more            recently           downloaded                 or viewed                 content               and may

also      be        recoverable                      months         or    years           later.

                         b.             Digital             devices          often         contain              electronic                  evidence

related             to     a crime,                  the     device's            user,           or      the        existence               of

evidence              in         other        locations,                 such       as,         how the             device          has          been

used,          what         it     has        been          used      for,       who has              used          it,      and         who has

been          responsible                    for      creating            or maintaining                        records,                 documents,



          12
           As used herein,            the term "digital           device"     includes      any
electronic       system     or device        capable     of storing       or processing
data    in digital       form,     including       central     processing       units;
desktop,      laptop,      notebook,       and tablet        computers;      personal
digital     assistants;         wireless       communication        devices,      such as
paging     devices,      mobile      telephones,        and smart phones;          digital
cameras;      gaming consoles;            peripheral       input/output        devices,      such
as keyboards,         printers,        scanners,     monitors,        and drives;       related
communications          devices,       such as modems, routers,              cables,      and
connections;        storage      media;      and security        devices.


                                                                               52
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programs,              applications,                     and materials                       on the               device.             That

evidence             is      often          stored         in     logs         and        other              artifacts              that        are

not     kept         in      places          where         the        user         stores          files,                and     in places

where         the      user         may be unaware                     of      them.              For         example,              recoverable

data      can        include              evidence          of        deleted             or      edited                files;        recently

used      tasks             and processes;                  online             nicknames                     and passwords                   in       the

form      of        configuration                   data         stored          by browser,                       e-mail,            and       chat

programs;              attachment                  of    other         devices;                times              the        device        was        in

use;      and        file          creation             dates         and      sequence.

                       c.           The absence                  of    data         on a digital                         device          may be

evidence             of how the                   device        was used,                what           it        was used            for,        and

who used             it.           For      example,             showing            the        absence                  of    certain

software             on a device                   may be necessary                          to    rebut                a claim          that         the

device         was being                  controlled              remotely               by such                  software.

                       d.           Digital             device         users            can       also            attempt           to      conceal

data      by using                 encryption,              steganography,                         or by using                      misleading

filenames              and         extensions.                   Digital            devices              may also                contain

~booby         trapsn              that      destroy             or    alter            data       if         certain            procedures

are     not         scrupulously                   followed.                 Law enforcement                             continuously

develops             and      acquires              new methods                    of     decryption,                        even     for

devices         or          data      that         cannot         currently                  be decrypted.

          95.          Based          on my training,                        experience,                      and         information                 from

those         involved              in      the      forensic             examination                        of    digital            devices,              I

know that              it      is     not         always        possible                to     search              devices            for       data

during         a search               of     the        premises             for        a number                  of      reasons,

including              the         following:




                                                                            53
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                        a.          Digital           data         are     particularly                       vulnerable                     to

inadvertent                  or     intentional               modification                        or destruction.                                Thus,

often        a controlled                    environment                  with            specially             trained                   personnel

may be necessary                       to        maintain           the        integrity                 of     and        to        conduct             a

complete           and accurate                     analysis              of        data         on digital                devices,                 which

may take           substantial                     time,      particularly                        as     to     the        categories                    of

electronic               evidence                referenced               above.              Also,           there          are           now so

many types               of       digital           devices           and programs                       that         it     is           difficult

to     bring      to         a search             site       all      of       the         specialized                 manuals,

equipment,               and personnel                     that      may be required.

                    b.              Digital          devices             capable              of       storing             multiple

gigabytes           are           now commonplace.                         As an example                        of     the           amount             of

data      this      equates                to,      one      gigabyte                can      store           close          to           19,000

average          file          size         (300kb)          Word documents,                           or     614 photos                     with        an

average          size          of     1.5MB.

                    c.              Other         than       what        has         been         described                herein,                to     my

knowledge,               the        United          States          has        not         attempted             to        obtain                this

data     by other                 means.

                               IX.          REQUEST FOR EARLY-MORNINGSERVICE
          94.       As discussed                     above,          based            on surveillance,                               it      appears

that     POLYMER80 employees                               have      arrived                at     the        SUBJECT PREMISES in

the     early-morning                   hours,             between             5:00         a.m.        and      6:00           a.m.

Therefore,               I request                authorization                      to     execute             the        search             warrant

between          5:00         a.m.      and         6:00      a.m.,            if     necessitated                     by the                arrival

of     any     individuals                  to     the      SUBJECT PREMISES during                                        that            time.

Once an individual                          arrives           at     the        SUBJECT PREMISES and                                       sees         ATF

agents         preparing              to         execute           a search               warrant,              there           is         the


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possibility                 for         destruction               of     evidence          if      the        search            warrant             is

not      immediately                    executed.               In addition               to     concerns                regarding

preservation                  of        evidence,             I also          request           authority                to     execute

the      search         warrant               upon       arrival           of    individuals                  to        the     SUBJECT

PREMISES due                  to        operational               safety         concerns.                  The search                    warrant

may more             safely            be executed                when        fewer       individuals                    are         at    the

SUBJECT PREMISES,                            rather       than         waiting          until          more         individuals,

who would              need        to        be secured            by law             enforcement,                  arrive.

Lastly,           early           execution              of the          search         warrant             will         help         to     avoid

unnecessary                 disruption                  of business              operations                 during             regular

business             hours.              Accordingly,                  I respectfully                      request

authorization                     to        execute       the      search         warrant              between                5:00        a.m.

and      6:00        a.m.,         in        the      event       that        an individual                   arrives                at     the

SUBJECT PREMISES during                                  that      time.

                                       X.          REQUEST FOR TEMPORARYSEALING
            96.        It     is        respectfully               requested              that         this         Court            issue        an

order        sealing,              until           execution             of     the     warrant,              all        papers

submitted              in     support              of    this      application,                  including                    the

application                 and         search          warrant          affidavit.                   I believe                that

sealing           is    necessary                  because         the        items       and         information                    to    be

seized          is     relevant               to      an ongoing              investigation                      into         criminal

conduct           involving                  multiple           individuals               and         entities,                both

currently              known            and     unknown,           and many of                  the        targets             of     the

investigation                     remain           unaware         that         they      are      being            investigated.

Disclosure              of        the        search       warrant             affidavit               at    this         time,            prior

to    its       execution,                   would       seriously              jeopardize                 the      investigation,

as    such        disclosure                  may provide                an opportunity                     to      destroy


                                                                          55
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evidence,            change       patterns          of     behavior,           or    allow          flight        from

prosecution.                 Premature           disclosure            of     the    contents              of    this

affidavit            and     related           documents       may have             a significant                 and

negative            impact       on this         continuing            investigation                 and        may

severely            jeopardize           its     effectiveness.                 Therefore,                 I request

that     the        application           for      search          warrant,         this       affidavit,               and     all

papers         in    support          thereof       remain          sealed,         until          execution            of    the

search      warrant,             at    which      time       the      documents             will     be unsealed.

                                                  XI .       CONCLUSION

         97.         Based       on the         foregoing,            I request             that     the        Court        issue

the    requested             warrant.



                                                             TOLLIVER HART, Special      Agent
                                                             Bureau   of Alcohol,   Tobacco,
                                                             Firearms   and Explosives



Subscribed    and sworn to before         me
by re~le        electronic     means on
this       ~ day of     December,   2020.




HONORABLE WILLIAM G. COBB
UNITED STATES MAGISTRATE JUDGE




                                                               56
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                                            U.S. Departmentof Justice

                                           Bureauof Alcohol,Tobacco,
                                           Fireanns and Explosives



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                                                     WV 2540$


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                                     JAN1 S 2017                 3311/305402




Mr. Jason Davis
The Law Officesof Davis & Associates
27201 Puerta Real, Suite 300
Temecula,California92691

Mr. Davis:

This is in referenceto your correspondence,with enclosedsamples,to the Bureau of
Alcohol,Tobacco,Fireanns and Explosives(ATF),Fireanns TechnologyIndustry
Services Branch(FTISB). In your letter, you asked for a classificationof two Glock-type
"PF940C Blank" on behalf of your client, Polymer 80 Incorporated(see enclosed
photos). Specifically,you wish to know if each of these items would be classifiedas a
"fireann" under the Gun ControlAct of 1968(GCA).

You state the submittedPF940C has critical machiningoperationsnot yet "implanted"as
follows:

   •   Drilli11gof the lockingleft a11dright blockpin holes.
   •   Drilling of the left and right triggerpill holes.
   •   Drillingof the left and right trigger housingpin holes.
   •   C11tti11g
               of the left and right rail slots to allowfor slide i11stallatio11.
   •   Machi11ing  of the side walls that block slide i11stallatio11.
   •   Machiningof the cross walls that block ban·eland recoil spring i11stallatio11.

As a part of your correspondence,you describedesign featuresand the manufacturing
processof the submitted"PF940C"to include the followingstatement:

• ThesubmittedPF940C blank is a solid core 1111ibody design made out of a single
castingwithoutany core strengtheninginserts.Moreover,it is void of any indicatorsthat
designateor provide guidance ill the completionof thefirearm.
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Mr. Jason Davis                                                         Page2

For your referencein this matter, the amendedGun ControlAct of 1968(GCA), 18
U.S.C. § 92J(a)(3), defines the term "firearm"to includeany weapon(includinga
starter gun) which will or is designedto or may be readilyconvertedto expela projectile
by the action of an explosive...[and]...the frame or receiverof a11ysuch weapo11
                                                                               ...

 Also, 27 CFR Section478.11 defines"flrca1·mframe or receiver".Thatpart of a
firearm whichprovides housingfor the hammer,bolt or breechblock,andfiring
 mechanism,and which is usuallythreadedat itsforward portion to receivethe barrel.

Also, the AECA, 27 CFR Section447.11, defines "defensearticles"as-··

...Any item designatedin§ 447.21or§ 447.22. This includesmodels,mockups,and
other such items which reveal technicaldata directlyrelatingto§ 447.21 or§ 447.22.

The USMIL, Section447.22, FORGINGS,CASTINGS,and MACHINEDBODIES
states:

Articles 011 the U.S.Munitio11sImportList includearticlesin a partially completedslate
(such asforgings, cm tings, extrnsions,and machinedbodies)w/i/clthave reacheda stage
in mamifact11re  where they are clearly identifiableas defensearticles.If the end-itemis
an article 011 the U.S.MunitionsImportList, (includingcomponents,accessories,
attachmelllsandparts) then the particularforging, casting,extrusion,machi11ed      body,
etc,. is considereda defense al'liclesubject to the controlsof thispart, exceptfor such
items as are in 11ormalcommercialuse.

During the examinationof your sample"PF940C",FTISB personnelfound that the
followingmachiningoperationsor design featurespresent or completed:

          I.   Trigger slot.
          2.   Capableof acceptingGlock 17 trigger mechanismhousing.
          3.   Capableof acceptingGlock 17 triggerbar.
          4.   Magazinewell.
          5.   Magazinecatch.
          6.   Accessoryrail.
          7.   Slide-stoplever recess.
          8.   Magazinecatch spring recess.

Machiningoperationsor design featuresnot yet present or completed:

          I.   Trigger-pinhole machinedor indexed.
          2.   Trigger mechanismhousing pin machinedor indexed.
          3.   Lockingblock-pinhole machined or indexed.
          4.   Devoidof front or rear frame rails.
          5.   Barrelseat machinedor formed.
          6.   Incapableof acceptingGlock locking-block.
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Mr. Jason Davis                                                         Page3

~    The dust cover, top of the barrel seat area and locking-blockrecess area became
damagedduringthis evaluation.

As a result of this FTISBevaluation,the submitted"PF940C' is not sufficiently
completeto be classifiedas the frame or receiverof a firearmand thus is not a "firearm"
as defined in the GCA. Consequently,the aforementioneditemsare thereforenot subject
to GCA provisionsand implementingregulations.

To reiteratethe conclusionofFTISB's evaluation,our Branchhas determinedthat the
submittedPolymer80, IncorporatedGlock-typereceiverblanks incorporatingthe
aforementioneddesign featuresare nQ! classifiedas the frameor receiverofa weapon
designedto expel a projectileby the actionof an explosive,thus each of these items are
not a "firearm"as definedin GCA, 18 U.S.C.§ 92l(a)(3)(B).

Pleasebe aware,while not classifiedas a "firearm";the submitteditems are each
classifiedas a "defensearticle"as definedin 27 CPR Section447.11.The U.S.
Departmentof State (USDS)regulatesall exportsfrom, and particularimportsinto, the
United States. Firearms,parts, and accessoriesfor firearmsare all groupedas "defense
articles"by the USDSand overseenby their Directorateof DefenseTrade Controls.
Informationregardingimport/exportof defensearticles can be found on their web site at
www.pmddtc.state.gov.

Correspondencefrom our Branchis dependentupon the pa1ticularfacts, designs,
characteristicsor scenariospresented.Pleasebe aware that althoughother cases
(submissionsto our Branch)may appearto present identicalissues, this correspondence
pertainsto a particularissue or item. We cautionapplyingthis guidancein this
correspondenceto other cases,becausecomplexlegal or technicalissues may exist that
differentiatethis scenarioor findingfrom others that only appearto be the same.

Pleasebe aware,this determinationis relevantto the item as submitted. If the design.
dimensions,configuration,methodof operation,processesor utilizedmaterials,this
classificationwouldbe subjectto review and would requirea submissionto FTISBofa
completefunctioningexemplar.

We thank you for your inquiryand trust the foregoinghas been responsiveto your
evaluationrequest.

                                        Sincerelyyours,
                                  II(


                                 -;riz~              ,L   CY/--
                                 Michae1R. Curtis
                  Chief,FirearmsTechnologyIndustryServicesBranch

Enclosure
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PF940C Blank, Submitted 10/6/16

                           Devoidof TriggerMechanismPin Hole




              Devoidof TriggerPin Hole
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PF940C Blank, Dust Cover Area Damaged

                             Devoidof Slide RaUs


        C'-




                Un-FormedBarrelSeat
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PF940C Blank, With Trigger Mechanism
    Housing and Slide Stop Lever
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PF940C Blank, Incapable of Accepting Glock
               Locking Block
           Case 1:20-cv-06885-GHW Document 92-2 Filed 01/22/21 Page 67 of 120



o/                                                            The Law Offices of
                                                    DA VIS & ASSOCIATES
                                    Temecula Office: 4-1-59~Wi11chcsterlM.S~c 2,QO,+ewecu1a, C ¢ 9!25%
                                ~ Orange County Office: 27201 Puerta Real, Suite 300, Mission Viejo, CA 92691
                                      Direct (866) 545-GUNS/Fax (888) 624-GUNS Jason@CalGunLawyers.com
                                                           www.CalGunLawyers.com


                              E\JA..L.
     October 3, 2016
                                305-L/O~
      Earl Griffith
      Bureau of Alcohol, Tobacco, Firearms, and Explosives
      Firearms Technology Branch
      244 Needy Road
      Martinsburg, West Virginia 25405 USA
      VIA FED-EX                                                              C),-...JC.
                                                                              i=:=izs-to<-
     Re:      IN RE: POLYMER 80, INC. PF940C BLANK                             R~ce;ve. R..
     Dear Mr. Griffith:

     I write regarding my client, POLYMER 80, INC. (P80) and their intent to manufacture pistol frame
     blanks. Specifically, we are asking for clarification as to whether the enclosed PF940C polymer
     9mm ("PF940C") blank is a "firearm," "firearm frame," or "firearm receiver" as defined in 18 U.S.C.
     §92I(a)(3) or a merely a casting.

     We have enclosed an exemplar PF940C for your review and examination. The submitted PF940C
     blank is a solid core unibody design made out of a single casting without any core
     strengthening inserts. Moreover, it is void of any indicators that designate or provide guidance
     in the completion of the firearm.

     We believe that the enclosed item is not a firearm or a firearm receiver. Nevertheless, in an
     abundance of caution, we request clarification from the Bureau of Alcohol, Tobacco, Firearms, and
     Explosives - Firearms Technology Branch.

                                            DEFINITIONOF FIREARM

     Title I of the Gun Control Act, 18 U.S.C. §§ 921 et seq., primarily regulates conventional firearms
     (i.e., rifles, pistols, and shotguns). Title Il of the Gun Control Act, also known as the National
     Firearms Act, 26 U.S.C. §§ 5801 et seq., stringently regulates machine guns, short barreled shotguns,
     and other narrow classes of firearms. "Firearm" is defined in§ 92l(a)(3) as:

             (B) Any weapon (including a starter gun) which will or is designed to or may readily be
             converted expel a projectile by the action of an explosive; (B) the frame or receiver of any
             such weapon; (C) any firearm muffler or firearm silencer; or (D) any destructive device.
             Such term does not include an antique firearm.
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DAVIS & ASSOCIATES

Re:   IN RE: POLYMER80. INC. PF940C BLANK
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As noted, the term "firearm"means a "weapon ... which will or is designedto or may readily be
convertedto expel a projectile,"and also "theframeorreceiverofanysuch weapon." (18 U.S.C.
§921(a)(3).) Both the "designed"definitionand the "may readily be converted"definitionapply to a
weapon that expels a projectile,not to a frame or receiver. A frame or receiver is not a "weapon,"
will not an,di§_not designedto expel a projectile,and may not readilybe convertedto expel a
projectile.

The issue thereforebecomeswhetherthe raw material "casting," with the specifiedfeatures, may
constitutea "frame or receiver."

ATF's regulatorydefinition,27 C.F.R. §478.11, provides:"Firearmframe or receiver. That part of a
firearm which provides housing for the hammer,bolt or breechblock,and firingmechanism,and
which is usually threaded at its forward portion to receive the barrel. (The same definitionappears in
27 C.F.R. §479.11.) "Breechblock"is definedas the locking and cartridgehead supporting
mechanismofa firearmthat does not operatein line with the axis of the bore." (Glossaryof the
Associationof Firearmsand Too/markExaminers(2nd Ed. 1985,21).)

The statute refers to "the frame or receiver of any such weapon," not raw materialwhich would
require further milling,drilling,and other fabricationto be usable as a frame or receiver. Referring
to ATF's definition in §478.11,an unfinishedpiece is not a "part" that "provideshousing" (in the
present tense) for the hammer,bolt, or breechblock,and other componentsof the firing mechanism,
unless and until it is machinedto accept these components. The definitiondoes not include raw
materialsthat "wouldprovide housing" for such components"... if further machined."

In ordinary nomenclature,the frame or receiver is a finished part which is capableof being
assembledwith other parts to put togethera fireann." (Receiver. The basic unit of a firearm which
houses the firing and breech mechanismand to which the barrel and stock are assembled. Glossary
of the Associationof Firearmand Too/markExaminers(2nd ed. 1985), 111.) Raw material requires
further fabrication. The Gun Control Act recognizesthe distinctionbetween "Assemblyand
"fabrication." (Compare 18 U.S.C. §921(a)(29)(defining"handgun" in part as "any combinationof
parts from which a firearm describedin subparagraph(A) can be assemblecf')with §921(a)(24)
(referring to "any combinationof parts, designedor redesigned,and intendedfor use in assembling
orfabricating a firearm silenceror firearmmuffler" (emphasisadded.).) The term "assemble"means
"to fit or join together (the parts of something,such as a machine):to assemblethe parts of a kit."
(Assemble.Dictionary.com.CollinsEnglishDictionary- Complete& Unabridged10thEdition.
HarperCollinsPublishers.http://dictionary.reference.com/browse/assemble     (accessed:January 23,
2013).) The term "fabricate"is broader, as it also synonymouswith manufacture:"to make, build, or
construct." (Fabricate.Dictionary.com.CollinsEnglishDictionary- Complete& UnabridgedI 0th
Edition. HarperCollinsPublishers.http://dictionary.reference.com/   browse/fabricate(accessed:
January 23, 2013).) Thus, drilling, milling,and other machiningwould constitutefabrication,but
assemblymore narrowlymeans putting togetherparts already fabricated.
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Moreover, "Congressdid not distinguishbetween receivers integrated into an operable weapon and
receivers sitting in a box, awaiting installation." (F.J. Vollmer Co., Inc. v. Higgins, 23 F.3d 448, 450
(D.C. Cir. l 994)(Emphasisadded.) The absence of a single hole and the presence of a piece of extra
metal may mean that an item is not a frame or receiver." (Id. at 452 ("In the case of the modifiedHK
receiver, the critical features were the lack of the attachmentblock and the presenceofa hole";
"welding the attachmentblock back onto the magazineand filling the hole it had drilled" removed
the item from being a machinegunreceiver.).)

                                ANALOGOUS
                                        DETERMINATIONS
In an analogous situation,ATF has defined a frame or receiver in terms of whether it was "capable of
acceptingall parts" necessaryfor firing. Like the term "firearm," the term "machinegun"is also
defined to include the "frame or receiver of any such weapon." (26 U.S.C. §5845(b). The same
definition is incorporatedby reference in 18 U.S.C. §921(a)(3).) The Chief of the ATF Firearms
TechnologyBranch wrote in 1978 concerninga semiautomaticreceiver which was milled out to
accept a full automaticsear, but the automaticsear hole was not drilled. He opined: "in such a
condition,the receiver is not capable of acceptingall parts normally necessaryfor full automaticfire.
Therefore, such a receiver is not a machinegun.. . . As soon as the receiver is capable of accepting
all parts necessaryfor full automaticfire, it would be subject to all the provisionsof the NFA."
(Nick Voinovich,Chief, ATF Fireanns TechnologyBranch, Feb. 13, 1978,T:T:F:CHB,7540.
Similar opinions were rendered by the Chief, ATF Firearms TechnologyBranch, Aug. 3 1977
(referencenumber deleted); and C. Michael Hoffinan,Assistant Director (Technicaland Scientific
Services),May 5, 1978, T:T:F:CHB, 1549?).)

That being said, the ATF expressed its opinions as to what extent raw materialmust be machinedin
order to be deemed a firearm. Specifically,in your letter dated June 12, 2014 (90350:WJS
331/302036)you stated as followingin response to a submissionfrom TacticalMachining,LLC:

         In general, to be classified as firearms,pistol forgings or castingsmust incorporatethe
         followingcritical features:

         Slide rails or similar slide-assemblyattachmentfeatures.
         Hammer pin hole.
         Sear pin hole.

That letter was respondingto two submissions(SampleA and Sample B). Those samples were
described as having the following completed:

    1.   Plunger-tubeholes have been drilled.
    2.   Slide-stoppin hole drilled.
    3.   Slide-stopengagementarea machined.
    4.   Ejector pin hole drilled.
    5.   Safety-lockhole drilled.
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   6. Magazine-catcharea machined.
   7. Grip-screwbushing holes drilled.
   8. Trigger slot machined.
   9. Magazinewell machined.
   10. Main spring housing area machined.
   11. Main spring pin hole machined.
   12. Sear-springslot machined.

The critical machiningoperationsnot yet implementedin SAMPLEA and B were as follows:

   I.   Slide rails cut.
   2.   Sear pin hole drilled.
   3.   Hammerpin hole drilled.
   4.   Barrel seat machined.

The FTB determinedthat neither Sample A nor B meet the definitionof "firearm" presentedin GCA,
18 U.S.C. Section921(a)(3).)

Similarly,the criticalmachiningoperationsnot yet implantedin the PF940C are as follows:

   1. Drill the lockingleft block pin hole.
   2. Drill the lockingright block pin hole.
   3. Drill the left trigger pin hole.
   4. Drill the right trigger pin hole.
   5. Dtill the trigger left housingpin hole.
   6. Drill the right trigger housing pin hole.
   7. Cut the left rail slots in the rear to allow slide installation.
   8. Cut the right rail slots in the rear to allow slide installation.
   9. Machine the side walls that block slide installation.
   10. Machine the cross wall that blocks barrel and recoil spring installation.

Thus, it is clear that the PF940C blank lower does not provide housingfor the "hammer,bolt or
breechblock,and firing mechanism"as requiredby law. Moreover,like the 1911 submissionthat
was deemed not a "firearm" by the FTB, the PF940C is missing critical operationsnecessaryto
complete the product. In this regard, the operationsperformedon the exemplarcasting are akin to
the 1911 submissiondeemed not a "firearm" by the FTB. As such, it is our belief that the exemplar
casting does not constitutea "receiver" or a "firearm." But, again, we request your clarificationon
this point: 1) ls it the opinion of the Bureau of Alcohol,Tobacco,Firearms,and Explosives that the
enclosed PF940Cblank is a firearm or firearm frame or receiver.

Thank you for taking the time to address this issue. We look forwardto hearing from you. Please Jet
us know if you have any further questionsor concerns. When complete,please returnthe
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Re: IN RE: POLYMER 80, INC. PF940C BLANK
October3, 2016
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submitted parts to 42690 Rio Nedo, Suite F, Temecula, CA 92590 via Fed-Ex using account
number:321690653.

Sincerely,

DAVIS & ASSOCIATES

s/ pa....VM14

JASON DAVIS.
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                                                  U.S. Departmentof Justice

                                                  Bureau of Alcohol, Tobacco,
                                                  Fireanns and Explosives



                                                  Martinsburg,
                                                            WV 2J40S


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Mr. Jason Davis
The Law Offices of Davis & Associates
41593 WinchesterRoad, Suite 200
Temecula,California92590

Mr. Davis:

This is in referenceto your correspondence,with enclosed samples, to the Bureau of Alcohol,
Tobacco, Fireanns and Explosives(ATF), Fireanns TechnologyIndustry ServicesBranch
(FTISB). In your letter, you asked for a classificationof an ARI 0-type item identifiedby you as
a "WARRHOGGBLANK" as well as a Glock-type"GC9 Blank" on behalf of your client,
Polymer 80, Incorporated(see enclosedphotos). Specifically,you wish to know if these items
would be classifiedas a "firearm" under the Gun Control Act of 1968 (GCA).

You state the submittedWARRHOGG BLANK incorporatesthe followingdesign features:

   •   Magazine well.
   •   Magazine catch.
   •   Receiver extension/buffertube.
   •   Pistol grip area.
   •   Pistol-gripscrew hole.
   •   Pistol grip upper receiver tension hole.
   •   Pistol grip tensionscrew hole.
   •   Bolt catch.
   •   Frontpivot-pin takedownhole.
   •   Rearpivot-pin takedownhole.

As a part of your correspondence,you describe design features and the manufacturingprocess of
the submitted "WARRHOGGBlank" to includethe following statements:
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Mr. Jason Davis

    •   The submitted WarrHogg.308 blank lower receiver blank is a solid core unibody design
        made out of a single casting without any core strengtheninginserts.Moreover, it is void
        of any indicatorsthat designateor provide guidance in the completionof thefirearm.
        This submitted item incorporatesa solidfire control cavity area, and was cast in a
        homogenousmanner using a "singleshot of molten material."

For your referencein this matter, the amendedGun Control Act of 1968(GCA), 18 U.S.C. §
921(a)(3),definesthe term "firearm" to includeany weapon (includinga starter gun) which will
or is designed to or may be readily convertedto expel a projectile by the action of an
explosive...[and]...the frame or receiver of any such weapon ...

Also, 27 CFR § 478.11 defines "firearm frame or receiver." Thatpart of a firearm which
provides housingfor the hammer, bolt or breechblock,andfiring mechanism,and which is
usually threadedat itsforward portion to receive the barrel.

Also, the AECA, 27 CFR § 447.11, defines"defense articles" as-

•..Any item designatedin§ 447.21 or§ 447.22. This includes models, mockups,and other such
items which reveal technicaldata directly relating to§ 447.21 or§ 447.22.

The USMIL § 447.22, FORGINGS, CASTINGS, and MACHINED BODIES states:

Articles on the U.S.Munitions Import List includearticles in a partially completedstate (suchas
forgings, castings,extrusions, and machinedbodies) which have reacheda stage in manufacture
 where they are clearly identifiableas defense articles.If the end-item is an article on the US.
Munitions Import List, (includingcomponents,accessories,attachmentsand parts) then the
particularforging, casting, extrusion,machinedbody, etc., is considereda defense article
subject to the controls of thispart, exceptfor such items as are in normal commercialuse.

During the examinationof your sample, FTISB personnelfound that the followingmachining
operationsor design features present or completed:
    1. Front and rear pivot/takedown pin holes.
    2. Front and rear pivot/ take down detent retainer holes.
    3. Front and rear pivot/takedown lug clearanceareas.
    4. Selector-retainerhole.
    5. Magazine-releaseand catch slots.
    6. Trigger-guardformed.
    7. Rear of receiverpresent and threadedto acceptbuffer tube.
    8. Buffer-retainerhole.
    9. Pistol-gripmountingarea faced off and drilled, but not threaded.
    I 0. Magazinewell.
    11. Receiverend-platerecess.
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Machining operations or design features not yet present or completed:
   1.   Completeremovalof materialfrom the fire-controlcavity area.
   2.   Machiningor indexingof selector-leverhole.
   3.   Machiningor indexingof trigger slot.
   4.   Machiningor indexingof trigger-pinhole.
   5.   Machiningor indexingof hammer-pinhole.

As a part of this evaluation,FTISBpersonnelnotedthe followingmarkings:

Left Side

   •    308
   •    POLYMER80

FTISBhas determinedthat an AR-IOtype receiverblank could have all othermachiningoperations
performed,includingfront receiverpivot-pinand rear take down pin hole and clearancefor the front
receiverlug and rear take down pin lug clearancearea (not to exceed 1.60inches),but must be
completelysolid and un-machinedin the fire-controlrecess area. The rear take downpin lug
clearancearea must be no longerthan 1.60 inches,measuredfrom immediatelyforwardof the front
of the buffer-retainerhole.
The FTISB examination of your submitted item, found that the most forward portion of the rear
take down pin Jug clearance area measures approximately 1.32 inches in length, less the
maximum allowable 1.60 inch threshold. As a result, the submitted item is not sufficiently
complete to be classified as the frame or receiver of a firearm; and thus, is not a "firearm" as
defined in the GCA. Consequently,the aforementioneditem is therefore not subject to GCA
provisions and implementingregulations.

To reiterate the conclusion ofFTISB's evaluation, our Branch has determinedthat the submitted
Polymer 80, IncorporatedARI 0-type receiver blank incorporatingthe aforementioneddesign
features is not classified as the frame or receiver of a weapon designed to expel a projectile by
the action of an explosive; and thus, it is not a "firearm" as defined in (GCA), 18 U.S.C. §
921(a)(3)(B).

As a part of your correspondence,you describe design features and the manufacturingprocess of
the submitted "CG or CG9" to include the following statement:

   •    The submitted GC9 blank is a solid core unibody design made out of a single casting
        without any core strengtheninginserts.Moreover, it is void of any indicatorsthat
        designate or provide guidance in the completionof thefirearm.
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Mr. Jason Davis

Please note, while not indicatedin the accompanyingcorrespondence,the submittedCG or CG9
appearsto have been made utilizing additivemanufacturingor 3-D printingtechnologyand not
"made out of a single casting."

Duringthe examinationof your sample"CG or CG9," FTISB personnelfound that the
followingmachiningoperationsor design featurespresent or completed:

          I.  Slide lock lever location indexed.
          2.  Upper portion of slide lock springrecess.
          3.  Trigger slot.
          4.  Capable of acceptingGlock 17 trigger mechanismhousing.
          5.   Capableof acceptingGlock 17 triggerbar.
          6.  Capable of acceptingGlock 17 lockingblock.
          7.  Magazinewell.
          8.   Magazinecatch.
           9. Accessoryrail.
           1O.Slide-stoplever recess.
           11. Magazinecatch spring recess.

Machiningoperationsor design features not yet presentor completed:

           1.   Trigger-pinhole machinedor indexed.
           2.   Lockingblock-pinhole machinedor indexed.
           3.   Devoid of front or rear frame rails.
           4.   Barrel seat machinedor formed.

As a result, the submitted"CG or CG9" is not sufficientlycompleteto be classifiedas the frame
or receiver of a firearm; and thus, is not a "firearm" as defined in the GCA. Consequently,the
aforementioneditem is thereforenot subject to GCA provisionsand implementingregulations.

To reiterate the conclusionofFTISB's evaluation,our Branch has determinedthat the submitted
Polymer 80, IncorporatedGlock-typereceiverblank incorporatingthe aforementioneddesign
featuresis nQ! classifiedas the frame or receiverof a weapon designedto expel a projectileby
the action of an explosive,thus it is not a "firearm" as defined in (GCA), 18 U.S.C. §
921(a)(3)(B).

Please be aware, while not classifiedas a "firearm";the submitteditems are each classified as a
"defense article" as defined in 27 CFR § 447.11. The U.S. Departmentof State (USDS) regulates
all exports from, and particular importsinto, the United States. Firearms,parts, and accessories
for firearmsare all grouped as "defense articles" by the USDS and overseenby their Directorate
of DefenseTrade Controls. Infonnationregardingimport/exportof defense articles can be found
on their web site at www.pmddtc.state.gov.

In conclusion,correspondencefrom our Branch is dependentupon the particularfacts, designs,
characteristicsor scenariospresented,Please be aware that althoughother cases (submissionsto
our Branch)may appear to present identical issues, this correspondencepertains to a particular
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Mr. Jason Davis

issue or item. We caution applyingthis guidancein this correspondenceto other cases, because
complex legal or technical issues may exist that differentiatethis scenarioor findingfrom others
that only appear to be the same.

Also, this determinationis relevant to the items as submitted. If the design, dimensions,
configuration,method of operation,or utilized materialsor processessuch as changingfrom
additivemanufacturingto injection molding,this classificationwould be subjectto review and
require a submissionto FTISB of an exemplarutilizingthe new manufacturingprocess.

We thank you for your inquiry and trust the foregoinghas been responsiveto your evaluation
request. Please do not hesitate to contactus if additionalinformationis needed.

                                        Sincerelyyours,
                                       RN.


                                   .~,e.c:A-
                                     MichaelR. Curtis
                     Chief, FirearmsTechnologyIndustryServicesBranch

Enclosures
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Polymer 80, Inc. WARRHOGG Receiver Blank
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Polymer 80, Inc; GC or CG9 Receiver Blank
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Capable of Accepting Glock 17 Trigger
Mechanism and Trigger Bar Assemblies
      Case 1:20-cv-06885-GHW Document 92-2 Filed 01/22/21 Page 88 of 120




Capable of Accepting Glock 17 Locking Block,
   Trigger Assembly and Slide Stop Lever
     Case 1:20-cv-06885-GHW Document 92-2 Filed 01/22/21 Page 89 of 120




Internal Frame Comparison to NFC Glock 17
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Frame Comparison to NFC Glock 17
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           EXHIBIT3
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                                            U.S. Departmentof Justice

                                            Bureauof Alcohol,Tobacco,
                                            Firearmsand Explosives




                                            www,n<f.gov


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Mr. Jason Davis
The Law Officesof Davis & Associates
27201PuertaReal, Suite 300
Temecula,California92691

Mr. Davis:

This is in referenceto your correspondence,with enclosedsamples,to the Bureauof
Alcohol,Tobacco,Firearmsand Explosives(ATF),FirearmsTechnologyIndustry
ServicesBranch(FI'!SB). In your letter, you asked for a classificationof a Glock-type
"PF940V2Blank"on behalfof your client, Polymer80 Incorporated(see enclosed
photos), Specifically,you wish to know if this item wouldbe classifiedas a "firearm"
under the Gun ControlAct of 1968(GCA).You state that, "we believe the encloseditem
is not a firearm",

For your referencein this matter, the amendedGun ControlAct of I968 (GCA), 18
U.S..C.§ 92 l(a)(3),defines the term "firearm"to include any weapon(illcludinga
starterg1111)whichwill or is de.vlgnedto or may be readilyconveJ'/edto expel a projectile
by rheaction of ml explosive..•[and]...theframe or receiverof any sue/Iweapon...

Also, 27 CFR § 478.11 defines"firearm frame or receiver". Tlmtpartof afirean,1
whichprovides housingfor the hammer,bolt or breechblock,a11dfiri11g  mechanism,and
which is usually threadedat itsforward portion to receivethe barrel.

Also, the GCA, 18 U.S.C. § 92l(a)(29), defines "handgun"to include "afirearm which
has II short stock and is designedto be held andfired by the use of a single hand;and (B)
any combinationofpartsfrom which afirean,1 describedi11,rubpamgraph(A) can be
assembled.

In addition,27 CFR § 478.11 definesa "pistol"to mean "a weaponoriginallydesigned,
made and illte11ded                                one or more barrels whenheld i11one
                  tofire a projectile (b11/let}fro111
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hand, a11dhaving (a) a chamber(s) as integral part(s) of, or perma11ently alig11ed with,
the bore(s); and (b) a short stock desig11ed to be gripped by one hand at an angle to and
extending below the line of the bore(s)."

During the examination of your sample "PF940V2",FTISB personnel found that the
following machining operations or design features present or completed:

                       1. Trigger slot.
                      2.           Capable of accepting Glock 17 trigger mechanism housing.
                      3.           Capable of accepting Glock 17 trigger bar.
                      4.           Magazine well.
                      5.           Magazine catch.
                      6.           Accessory rail.
                      7.           Slide-stop lever recess.
                      8.           Magazine catch spring recess.
                      9.           Metal embedded plate in dust cover.

Machining operations or design features not yet present or completed:

                      1.           Trigger-pin hole machined or indexed.
                      2.           Trigger mechanism housing pin machined or indexed.
                      3.           Locking block-pin hole machined or indexed.
                      4.           Devoid of front or rear frame rails.
                      5.           Barrel seat machined or formed.
                      6.           Incapable of accepting Glock locking-block.

It is clear from the above information provided in your correspondence that the submitted
sample is only a component used in the assembly of an end-item. Research conducted by
FfISB has disclosed that a Polymer 80 Model PF940V2 is being marketed at
www.po1ymer80.com, as depicted in screenshots below:

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                                                                                                                             PF940v2™    eo•;•St.indard   Pistol Frame
                                                                                                                             Kit




                                                         ~
                                                                                                                             $160.00


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r                     H'MMW □M                                                                                                                                           I
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Image of Polymer 80 Model PF940V2 80%StandardPistol Frame Kit obtained from
                            www.polymer80.com

FJ'ISB also noted the following markings on the submitted sample:

    •   PF40V2
    •   MADEINUSA
    •   POLYMERS0,INC.
    •   DAYTON,NV
    •   PS0

The following is a description from Polymer 80's website that describes the item and
what is included with the purchase of the Polymer 80 Model PF940V2 80% Standard
Pistol Frame Kit:

    •The PF940vVMis compatible with componentsfor 3-pin 9mm G17, 34, 17L;
     .40S&W G22, 35, 24; and .357Sig G31.
   • Next Generation Ergonomicsand Features
   • High-StrengthReinforcedPolymer Construction
   • The ReadyMod®frame features a blank grip design that is ready for
     stippling and other grip customization.
   • Picatinny/STANAGCompliantAccessory Rail
   • Blank SerializationPlate
   • Stainless Steel Locking Block Rail System (LBRSTh1)

   • Stainless Steel Drop-In Rear Rail Module (RRMTM)
   • HardenedPins for LBRSTM     and RRMTM
   • CompleteFinishingJig, Drill bits and End Mill Included

Clearly the submitted sample is simply a component of a larger product. In your
correspondence, you reference that "the PF940V2 is missing critical operations necessary
to complete the product".
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Pleasenote, theframe or receiverof a firearmis afiream, as definedin GCA, 18 U.S.C,
§ 92l(a)(3)(B),and any combinationof parts from whicha handgun,as definedin 18
U.S.C. § 921(a)(29),can be assembledis also afirearmas definedin .18U.S.C. §
92l(a)(3).

FI'ISB will not rendera classificationon a partialproductsubmission.In order to receive
an evaluationand classificationor your product,pleasesubmitthe completePolymer80
ModelPF940V280% StandardPistolFrame Kit beingmarketedby your client.

We.cautionthat these findingsare based on the sampleas submitted.If the design,
dimensions,configuration,methodof operation,or materialsused werechanged,our
determinationwouldbe subjectto review.The submittedsamplewill be returnedto you
undera separatecover utilizingFEDEXaccountnumber321690653.

We thankyou for your inquiryand trust the foregoinghas been responsiveto your
evaluationrequest.

                                   Sincerelyyours,

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                                  MichaelR. Curtis
                  Chief, FirearmsTechnologyIndustryServicesBranch

Enclosure
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          Polymer 80 PF940V2
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           Polymer 80 PF940V2
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          Polymer 80 PF940V2
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                                          THE
                                            DI\VIS
                                              LAW        FIRM
       Orange County Office; 27201 Puerta Real, Suite 300, Mission Viejo, Cab omia 92691
            Temecula Office: 42690 Rio Nedo, Suite F, Temecula,California 92590
                Tel: 866-545-4867/ Fax: 888-624-4867/ CalGunLawyers.com

December11,2017

  Earl Griffith                                                              fo)'t~
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  Bureauof Alcohol,Tobacco,Fireanns,and Explosives
  FireannsTechnologyBranch                                                   11\\DEC1 8 2017JJ!}
  244 NeedyRoad                                                                       p.1\10
  Martinsburg,WestVirginia25405USA                                             BY.......................
                                                                                                     .
  VIA FED-EX


 Re:       IN RE: POLYMER80, INC. PF940V2BLANK               ✓
Dear Mr. Griffith:

I write regardingmy client, POLYMER80, INC. (P80)and their intentto manufacturepistol frame
blanks. Specifically,we are askingfor clarificationas to whetherthe enclosedPF940V2polymer
9mm("PF940V2")blank is a "fireann," "fireann frame,"or "firearmreceiver"as definedin 18
U.S.C. §92l(a)(3) or a merelya casting.

We have enclosedan exemplarPF940V2for your reviewand examination.The submitted
PF940V2blankis a solid core unlbodydesign made out of a single castingwithout any core
strengtheningInserts. Moreover,it is void of any indicatorsthat designateor provideguidance
in the completionof the firearm.Significantly,the PF940V2is nearly identicalto the previously
submittedPF940C,exceptin certaindimensions. The ATF classifiedthat submissionas a non-
fiream1.(SeeATF letter datedJanuary18,2017, 907010:WJS3211/305402.)

We believethat the encloseditem is not a firearmor a fireannreceiver. Nevertheless,in an
abundanceof caution,we requestclarificationfrom the Bureauof Alcohol,Tobacco,Fireanns,and
Explosives- FireannsTechnologyBranch.

                                     DEFINITIONOF FIREARM

Title I of the Gun ControlAct, 18 U.S.C.§§ 921 et seq., primarilyregulatesconventionalfirearms
(i.e.,rifles,pistols,and shotguns). Title II of the Gun ControlAct, also knownas the National
FirearmsAct, 26 U.S.C. §§ 580l et seq., stringentlyregulatesmachineguns,short barreledshotguns,
and other narrowclassesoffireanns. "Firearm"is definedin§ 92l(a)(3) as:

        (B) Any weapon(includinga startergun) whichwill or is designedto or may readilybe
        convertedexpel a projectileby the action of an explosive;(B) the frameor receiverof any
        suchweapon;(C) any firearmmuffieror fireann silencer;or (D) any destructivedevice.
        Such tenn does not includean antiquefireann.
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THE DAVISLAWFIRM
IN RE: POLYMER80,INC. Pf940V2 BLANK

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As noted, the term "firearm" means a "weapon. , , which will or is designedto or may readily be
convertedto expel a projectile,"and also "theframe or receiverof any such weapon," (18 U.S.C.
§92l(a)(3).) Both the "designed"definitionand the "may readilybe converted"definitionapply to a
weaponthat expels a projectile,not to a frame or receiver. A frameor receiveris not a "weapon,''
will not and is not designedto expel a projectile,and may not readilybe convertedto expel a
projectile.

The issue thereforebecomeswhether the raw material"casting,"with the specifiedfeatures,may
constitutea "frame or receiver."

ATF's regulatorydefinition,27 C.F.R. §478.11,provides:"Firearmframe or receiver. That part of a
firearmwhich provideshousing for the hammer,bolt or breechblock,and firing mechanism,and
which is usuallythreadedat its forwardportion to receive the barrel. (The same definitionappears in
27 C.F.R. §479.11.) "Breechblock"is definedas the lockingand cartridgehead supporting
mechanismofa firearmthat does not operate in line with the axis of the bore." (Glossa,yof the
Associationof Firearmsand Too/markExaminers(2nd Ed. 1985,21),)

The statute refers to "the frameor receiverof any such weapon,'' not raw materialwhich would
require further milling,drilling, and other fabricationto be usableas a frame or receiver. Referring
to ATF's definitionin §478.11,an unfinishedpiece is not a "part" that "provideshousing"(in the
present tense) for the hammer,bolt, or breechblock,and other componentsof the firing mechanism,
unless and until it is machinedto accept these components. The definitiondoes not includeraw
materialsthat "would providehousing" for such components"... if furthermachined."

In ordinarynomenclature,the frame or receiveris a finishedpart which is capable of being
assembledwith other parts to put together a firearm." (Receiver. The basic unit of a firearmwhich
houses the firing and breech mechanismand to which the barrel and stock are assembled. Glossary
of the Associationof Firearmand Too/markExaminers(2nd ed. 1985),111.) Raw materialrequires
further fabrication. The Gun Control Act recognizesthe distinctionbetween"Assemblyand
"fabrication." (Compare18 U.S.C. §92l(a)(29) (defining"handgun" in part as "any combinationof
parts from which a firearmdescribedin subparagraph(A) can be assembled")with §92l(n)(24)
(referringto "any combinationof parts, designedor redesigned,and intendedfor use in assembling
orfabricating a fiream1silencer or fiream1muffler"(emphasisadded.).) The term "assemble" means
"to fit or join together(the parts of something,such as a machine):to assemblethe parts of a kit."
(Assemble.Dictionary.com.CollinsEnglishDictionaiy- Complete& UnabridgedJOt/1Edition.
HarperCollinsPublishers.http://dictionary.reference.com/browse/assemble    (accessed:January 23,
2013).) The term "fabricate"is broader,as it also synonymouswith manufacture:"to make, build,or
construct."(Fabricate.Dictionary.com.CollinsE11g/isll    Dictionary- Complete& Unabridged/0//,
Edition,HarperCollinsPublishers.http://dictionary.reference.com/   browse/fabricate(accessed:
January23, 2013).) Thus, drilling, milling,and other machiningwould constitutefabrication,but
assemblymore narrowlymeans putting together parts already fabricated.

Moreover,"Congressdid not distinguishbetweenreceiversintegratedInto an operableweaponand
receiverssitting in a box, awaitinginstallatlon."(F.J. VollmerCo., Inc. v. Higgins,23 F.3d 448,450
(D.C. Cir. l 994)(Emphasisadded.) The absenceof a single hole and the presenceof a piece of extra
metal may mean that an item is not a frame or receiver." (Id. at 452 {"In the case of the modifiedHK
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THE DAVISLAWFIRM
IN RE: POLYMER80, INC.PF940V2BLANK

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receiver, the critical featureswere the lack of the attachmentblock and the presenceofa hole";
"welding the attachmentblock back onto the magazineand filling the hole it had drilled"removed
the item from being a machinegunreceiver.).)

                             ANALOGOUSDETERMINATIONS

In an analogoussituation,ATF has defineda frameor receiver in terms of whetherit was "capableof
acceptingall parts" necessaryfor firing. Like the term "tireann," the term "machinegun"is also
defined to includethe "frame or receiverof any such weapon." (26 U.S.C. §5845(b). The same
definitionis incorporatedby referencein 18 U.S.C. §921(a)(3).) The Chief of the ATF Firearms
TechnologyBranchwrote in 1978concerninga semiautomaticreceiverwhich was milledout to
accept a foll automaticsear, but the automaticsear hole was not drilled. He opined:"in such a
condition,the receiveris not capableof acceptingall parts normallynecessaryfor full automaticfire.
Therefore,such a receiveris not a machinegun.. . . As soon as the receiver is capableof accepting
all parts necessaryfor full automaticfire, it would be subject to all the provisionsof the NFA."
(Nick Voinovich,Chief, ATF FirearmsTechnologyBranch,Feb. 13, 1978,T:T:F:CHB,7540.
Similaropinionswere renderedby the Chief, ATF FirearmsTechnologyBranch,Aug. 3 1977
(referencenumberdeleted);and C. MichaelHoffman,AssistantDirector(Technicaland Scientific
Services),May 5, 1978,T:T:F:CHB,1549?).)

That being said, the ATF expressedits opinionsas to what extent raw materialmust be machinedin
order to be deemeda firearm. Specifically,in your letter dated June 12, 2014 (90350:WJS
331/302036)you stated as followingin responseto a submissionfrom TacticalMachining,LLC:

       In general,to be classifiedas firearms,pistol forgingsor castingsmust incorporatethe
       followingcritical features:

       Slide rails or similar slide-assemblyattachmentfeatures.
       Hammerpin hole.
       Sear pin hole.

That letter was respondingto two submissions(SampleA and SampleBJ. Those sampleswere
describedas havingthe followingcompleted:

   I. Plunger-tubeholes have been drilled.
   2. Slide-stoppin hole drilled.
   3. Slide-stopengagementarea machined.
   4. Ejector pin hole drilled.
   5. Safety-lockhole drilled,
   6. Magazine-catcharea machined.
   7. Grip-screwbushingholes drilled.
   8. Trigger slot machined.
   9. Magazinewell machined.
   IO. Main spring housingarea machined.
   11. Main spring pin hole machined.
   12. Sear-springslot machined.
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THE DAVIS LAW FIRM
IN RE: POLYMER80, INC. PF940V2BLANK

December 11, 2017
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The criticalmachiningoperationsnot yet implementedin SAMPLEA and B were as follows:

   1.   Slide rails cut.
   2.   Sear pin hole drilled.
   3.   Hammerpin hole drilled.
   4.   Barrel seat machined.

The FTB determinedthat neither SampleA nor B meet the definitionof"firearm" presentedin GCA,
18 U.S.C. Section921(a)(3).)

Similarly,the criticalmachiningoperationsnot yet implantedin the PF940V2are as follows:

   l.  Drill the lockingleft blockpin hole.
   2.  Drill the lockingright block pin hole.
   3.  Drill the left triggerpin hole.
   4.  Drill the right triggerpin hole.
   5. Drill the triggerleft housingpin hole.
   6. Drill the right triggerhousingpin hole.
   7. Cut the left rail slots in the rear to allow slide installation.
   8. Cut the right rail slots in the rear to allow slide installation.
   9. Machinethe side walls that block slide'installation.
   10. Machinethe cross wall that blocksbarrel and recoil spring installation.

Thus, it is clear that the PF940V2blank lower does not provide housingfor the "hammer,bolt or
breechblock,and firingmechanism"as requiredby law. Moreover,like the 1911submissionthat
was deemed not a "firearm"by the FTB, the PF940V2is missingcritical operationsnecessaryto
completethe product. In this regard,the operationsperformedon the exemplarcastingare akin to
the 1911submissiondeemed not a "firearm"by the FTB. As such, it is our belief that the exemplar
castingdoes not constitutea "receiver"or a "firearm." But, again, we requestyour clarificationon
this point: I) Is it the opinionof the Bureauof Alcohol,Tobacco,Firearms,and Explosivesthat the
enclosedPF940V2blank is a firearmor firearmframe or receiver.

Thank you for takingthe time to addressthis issue. We look forwardto hearing from you. Please let
us know if you have any furtherquestionsor concerns. When complete,please returnthe
submittedparts to 42690 Rio Nedo, Suite F, Temecula,CA 92590 via Fed-Ex using account
number:321690653,

Sincerely,

DAVIS & ASSOCIATES



JASON DAVIS.
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                                                        ATTACHMENT          A

PREMISES TO BE SEARCHED

          The business              and     Federal             Firearms          Licensee            ("FFL")           known     as

POLYMERS □,          Inc.          ("POLYMER80"),                which      is        located         at    134 Lakes

Blvd,      Dayton,          NV 89403             (the      "SUBJECT PREMISES").

          The SUBJECT PREMISES is                           a three         acre        plot       of      land

containing           a large            single          story     tan      and        gray      building,          located

on the       northwest             side     of     Lakes         Blvd,      and        southeast            of    the     Dayton

Air      Park     airstrip.

          The area            to   be     searched          at    the      SUBJECT PREMISES includes

all      rooms,      trash         containers,              debris         boxes,            locked        containers           and

safes,       cabinets,             garages,             warehouses,              or    storage          containers           or

other      storage            locations          assigned             to   the        SUBJECT PREMISES.




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               Overhead   view   of    SUBJECT PREMISES




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                        SUBJECT PREMISES




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               Main   Entrance   to    SUBJECT PREMISES




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                                                                    ATTACHMENTB
I.         ITEMS TO BE SEIZED:

           1.              The items              to      be seized                  are     evidence,                  contraband,

fruits,              or        instrumentalities                           of    violations                   of       18 U.S.C.         §§

922 (a) (2)                (Shipment              or      Transport                  of     a Firearm                 by a Federal

Firearms              Licensee                ("FFL")            to       a Non-FFL               in     Interstate                or    Foreign

Commerce);                     922 (b) (2)             (Sale         or     Delivery              of     a Firearm               in     Violation

of    State           Law or            Ordinance);                   922 (b) (3)                (Sale           or     Delivery         of     a

Firearm          by an FFL to                       Person            Not        Residing               in       the     FFL's        State);

922 (b) (5)                (Sale        or    Delivery                of        a Firearm              by an FFL Without

Notating              Required               Information                    in       Records);                922(d)        (Sale        or

Disposition                     of     a Firearm               to     a Prohibited                     Person);             922(e)

(Delivery                 of      a Package               Containing                  a Firearm                  to    a Common Carrier

Without          Written                Notice);               922(g)             (Possession                    of a Firearm                by a

Prohibited                     Person);           922(m)             (False           Records            by an FFL);                  922(t)

(Knowing              Transfer               of     Firearm               without            a Background                   Check);            922(z)

(Sale,          Delivery,                   or Transfer                   of     a Handgun               by an FFL Without                          a

Secure          Gun Storage                   or       Safety             Device);               371     (Conspiracy);                   and        22

U.S.C.          §§        2278(b)           (2)    and         (c)        and        50 U.S.C.               §     4819     (Violations                  of

the      Arms Export                    Control            Act        and        Export           Control              Regulations)

(collectively,                        the     "Subject                Offenses"),                  namely:

                          a.          "Buy,        Build,             Shoot"              kits     and           components             of    "Buy,

Build,          Shoot"               kits     compiled                or        arranged           in        close        proximity             to

one      another                indicating                they        were           intended            to        be compiled               into

"Buy,      Build,                Shoot"           kits;

                          b.          Handguns             bearing               no serial               number;




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                       c.           Communications                   and       records             concerning                the

manufacture,                   design,             marketing,              sale,           shipment,            and      transfer             of

"Buy,         Build,           Shoot"         kits;

                       d.           Communications                   and       records             concerning                federal,

state,         and          local       firearms             laws       and        regulations;

                       e.           Communications                   and       records             concerning                "Buy       Build

Shoot"         kits,           or     any     other          similar           grouping             of       components               that

can      be    readily              assembled              into      a firearm;

                       f.           Communications                   and       records             of    payments             for       and

shipments              of      "Buy        Build       Shoot"           kits         or     any     other         similar

grouping            of       components               that        can    be      readily            assembled              into         a

firearm;

                       g.           Communications                   and       records            concerning               the        sale      or

shipment          of         firearms          and         firearm           components                 to    individuals

prohibited                from       possessing               firearms;

                     h.             Communications                   and       records            concerning              the         sale      or

shipment          of         firearms          or      firearm           components                 to       individuals               or

locations            outside             of    the         United        States;

                     i.             Records          concerning                the        sale      or       transfer           of

firearms,            including                FFL Acquisition                        and     Disposition                records,              ATF

Form       4473s,           NICS inquiries                    and       background                checks,          and        other

records         required              to      be maintained                    by FFLs;

                     j.             Communications                   and       records            concerning              the         sale      or

transfer         of         firearms           and         firearm           components                 to    locations               or

individuals                 outside           of     the     United            States;

                     k.             Information              relating              to      the      identity            of      the

person(s)            who communicated                        about           matters             discussed            above;


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                       1.          Any digital                    device             which          is      itself           or which

contains             evidence,                  contraband,                   fruits,            or        instrumentalities                       of

the     Subject             Offenses,                and         forensic               copies             thereof.

                       m.          With          respect            to        any       digital             device           used      to

facilitate              the        above-listed                    violations                    or        containing            evidence

falling         within             the         scope         of    the         foregoing                   categories            of     items           to
be    seized:

                                   i.            evidence            of who used,                          owned,         or   controlled

the    device           at     the         time        the        things             described                 in    this      warrant             were

created,          edited,                or deleted,                 such            as     logs,           registry           entries,

configuration                  files,             saved           usernames                 and passwords,                     documents,

browsing          history,                 user        profiles,                 e-mail,              e-mail           contacts,             chat

and    instant              messaging                logs,         photographs,                       and       correspondence;

                                   ii.           evidence            of        the        presence              or     absence          of

software          that        would             allow         others            to        control              the     device,          such        as

viruses,          Trojan            horses,                and     other             forms        of malicious                   software,

as    well      as     evidence                 of    the         presence                or     absence             of     security

software         designed                 to      detect           malicious                   software;

                                iii.            evidence             of       the         attachment                 of other           devices;

                                iv.             evidence            of        counter-forensic                            programs           (and

associated             data)             that        are     designed                 to       eliminate              data       from        the
device;

                                v.              evidence            of        the         times          the        device       was used;

                                vi.             passwords,                encryption                     keys,        and      other         access

devices         that         may be necessary                            to     access            the        device;

                               vii.             applications,                       utility              programs,             compilers,

interpreters,                 or         other        software,                 as        well        as     documentation                   and


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manuals,             that       may be necessary                         to      access             the     device       or     to

conduct             a forensic                examination                of      it;

                                 viii.                     records             of      or    information               about
 Internet            Protocol            addresses                used        by the            device;

                                 ix.           records            of     or      information                 about       the     device's

Internet             activity,             including               firewall                 logs,         caches,        browser

history             and      cookies,           "bookmarked"                    or       "favorite"              web pages,

search          terms         that       the        user      entered               into        any       Internet        search

engine,             and      records           of user-typed                    web addresses.

           2.           As used          herein,            the        terms           "records,"              "documents,,,

"programs,"                  "applications,"                      and "materials"                         include        records,

documents,                programs,             applications,                       and materials                   created,

modified,               or    stored           in     any     form,           including               in     digital          form        on

any       digital            device        and        any     forensic                 copies         thereof.

           3.         As used            herein,            the        term         "digital              device"       includes               any

electronic                system         or     device            capable              of    storing          or processing

data       in    digital             form,          including                central           processing              units;

desktop,             laptop,          notebook,              and        tablet              computers;              personal

digital          assistants;                  wireless             communication                      devices,          such         as

telephone             paging          devices,              beepers,                mobile          telephones,               and     smart

phones;          digital             cameras;           peripheral                     input/output                 devices,          such

as     keyboards,              printers,               scanners,               plotters,                  monitors,           and     drives

intended            for       removable              media;            related              communications                devices,

such       as modems,                routers,           cables,               and       connections;                 storage          media,

such       as hard           disk       drives,             floppy            disks,          memory          cards,          optical

disks,          and magnetic                  tapes         used        to     store          digital          data       (excluding

analog          tapes        such       as VHS);             and        security              devices.


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II.           SEARCH PROCEDUREFOR HANDLINGPOTENTIALLYPRIVILEGED
              INFORMATION

              4.          The following                   procedures                    will          be followed                  at      the        time

of      the        search         in      order          to     avoid             unnecessary                 disclosures                     of      any

privileged                  attorney-client                          communications                         or work           product:

          Non-Digital                     Evidence

              5.          Prior         to     reading               any     document                 or     other        piece            of

evidence                  ("document")               in        its        entirety,                 law enforcement                        personnel

conducting                  the        investigation                      and         search          and     other           individuals

assisting                 law enforcement                       personnel                 in        the      search           (the         "Search

Team")             will         conduct           a limited                 review             of     the     document               in       order          to

determine                 whether            or    not        the         document              appears             to    contain                or

refer          to     communications                      between                 an attorney,                    or     to    contain                the

work      product                of     an attorney,                      and         any person              ("potentially

privileged                  information").                           If     a Search                Team member                determines

that      a document                    appears           to         contain            potentially                    privileged

information,                     the     Search           Team member                     will         not        continue               to      review

the      document                and will            immediately                       notify          a member               of     the

"Privilege                  Review           Team"        (previously                     designated                   individual(s)                    not

participating                     in     the       investigation                        of      the        case).             The Search

Team will                 not     further            review               any         document             that        appears             to

contain             potentially                   privileged                 information                    until         after            the

Privilege                 Review         Team has               completed                 its         review.

          6.              In consultation                       with         a Privilege                    Review            Team Assistant

United             States         Attorney               ("PRTAUSA"),                     if        appropriate,                   the

Privilege                 Review         Team member                      will         then         review          any document

identified                  as    appearing               to         contain            potentially                    privileged




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 information                     to     confirm            that         it         contains              potentially                    privileged
 information.                         If     it     does        not,          it       may be returned                         to       the        Search
Team member.                          If     a member             of         the       Privilege                Review             Team confirms

that         a document                    contains             potentially                    privileged                    information,

then         the         member            will      review             only           as much of                    the     document               as    is

necessary                 to        determine             whether                 or not           the         document             is       within         the
scope             of     the        warrant.              Those          documents                   which            contain             potentially

privileged                     information                but      are         not           within            the         scope        of    the

warrant                will         be set         aside          and will                   not     be subject                    to     further

review             or     seizure                absent      subsequent                       authorization.                            Those

documents                 which            contain          potentially                       privileged                    information                  and

are      within               the      scope         of     the        warrant                will        be seized                 and       sealed

together                 in     an enclosure,                     the         outer           portion            of which                 will       be

marked             as     containing                 potentially                       privileged                information.                        The

Privilege                 Review            Team member                  will           also         make        sure         that           the

locations                 where            the     documents                  containing                  potentially                    privileged

information                    were         seized         have          been           documented.

             7.           The seized                 documents                 containing                  potentially                       privileged

information                    will         be delivered                     to        the     United            States             Attorney's

Office             for        further             review          by a PRTAUSA.                           If     that         review             reveals

that         a document                    does     not      contain                   potentially                    privileged

information,                     or        that     an exception                        to     the       privilege                  applies,              the

document                may be returned                      to        the         Search            Team.             If     appropriate

based         on review                    of particular                     documents,                   the         PRTAUSA may apply

to     the        court          for        a finding             with             respect            to        the        particular

documents                 that         no privilege,                    or         an exception                       to     the        privilege,
applies.


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           Digital               Evidence

           8.          The Search                   Team will                  search             for     digital             devices

capable           of being                used          to     facilitate                   the         Subject           Offenses             or

capable           of      containing                    data          falling             within          the        scope         of    the        items

to     be seized.                    The Privilege                       Review            Team will                 then       review             the

identified                digital             devices               as     set        forth         herein.                 The Search                   Team

will       review            only         digital              device            data        which          has        been        released               by
the       Privilege               Review            Team.

           9.          The Privilege                         Review            Team will,                 in      their         discretion,

either           search           the        digital               device(s)               on-site              or     seize        and

transport              the       device(s)                   to     an appropriate                        law enforcement

laboratory                or      similar            facility                  to     be searched                    at     that        location.

           10.         The Privilege                         Review            Team and             the        Search           Team shall

complete           both          stages            of        the       search           discussed                herein            as    soon            as

is     practicable                  but       not        to       exceed            180 days              from        the       date         of

execution              of      the      warrant.                    The government                        will        not       search             the

digital           device(s)                beyond              this       180-day             period             without            obtaining

an extension                   of    time          order            from        the       Court.

           11.         The Search                  Team will                   provide            the      Privilege                Review           Team

with      a list            of      "privilege                    key words"                to      search            for       on the

digital          devices,               to      include               specific              words          like           names         of    any

identified                attorneys                or        law      firms          or     their          email            addresses,               and

generic          words           such         as    "privileged"                       or     "work            product".                 The

Privilege              Review           Team will                   conduct            an initial                    review         of       the     data

on the          digital             devices             using            the        privilege              key words,                   and by

using       search             protocols                specifically                      chosen           to        identify            documents

or data          containing                  potentially                   privileged                     information.                       The


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Privilege                 Review           Team may subject                               to        this        initial             review             all         of

the      data            contained                 in    each             digital             device            capable             of     containing

any      of        the        items        to       be seized.                      Documents                   or data             that         are

identified                 by this                 initial                review         as not              potentially                   privileged

may be           given           to       the       Search                Team.

             12.          Documents                 or data                that         the      initial               review            identifies

as potentially                        privileged                     will         be     reviewed                by a Privilege                         Review

Team member                    to     confirm                 that         they         contain              potentially                   privileged

information.                        Documents                  or data              that         are         determined                  by this

review          not        to       be potentially                           privileged                    may be given                    to     the

Search          Team.               Documents                  or data              that         are         determined                  by this

review          to       be potentially                         privileged                     will          be given               to     the        United

States          Attorney's                    Office             for         further             review               by a PRTAUSA.

Documents                 or    data          identified                     by the            PRTAUSA after                        review            as not

potentially                    privileged                 may be given                         to      the       Search             Team.             If,

after         review,               the       PRTAUSA determines                                 it        to    be appropriate,                             the

PRTAUSA may apply                             to        the     court             for      a finding                   with         respect             to

particular                 documents                    or data              that        no privilege,                        or     an exception

to     the      privilege,                    applies.                     Documents                 or     data        that         are        the

subject            of      such         a finding                    may be             given         to        the     Search             Team.

Documents                or     data          identified                    by the             PRTAUSA after                        review            as

privileged                 will         be maintained                         under            seal         by the            investigating

agency          without               further             review              absent            subsequent                    authorization.

          13.            The Search                     Team will                 search             only        the        documents              and

data      that           the        Privilege                  Review             Team provides                        to     the        Search              Team

at     any      step           listed           above           in         order         to     locate             documents                and         data

that      are        within             the         scope            of     the         search             warrant.                 The Search


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Team does          not        have         to     wait        until             the      entire            privilege             review            is

concluded             to     begin         its      review            for        documents                 and        data     within          the

scope      of     the        search           warrant.                The Privilege                        Review            Team may also

conduct         the        search          for      documents                   and      data           within         the      scope         of

the     search         warrant             if     that        is     more             efficient.

          14.         In performing                     the    reviews,                  both           the      Privilege             Review

Team and          the        Search             Team may:

                      a.           search         for       and       attempt                to     recover            deleted,

"hidden,"             or     encrypted              data;

                      b.           use     tools         to    exclude                 normal             operating             system

files      and        standard             third-party                    software                 that        do not         need       to    be

searched;             and

                      c.         use       forensic            examination                         and        searching           tools,

such      as    "Encase"             and         "FTK"        (Forensic                  Tool           Kit),         which       tools        may

use     hashing            and      other         sophisticated                        techniques.

          15.      Neither               the      Privilege                 Review            Team nor                the     Search          Team

will      seize         contraband                or evidence                    relating                 to     other        crimes

outside         the        scope         of      the     items            to     be      seized               without         first

obtaining             a further               warrant          to         search             for        and      seize        such

contraband              or    evidence.

          16.         If     the      search            determines                    that         a digital                device       does

not     contain            any      data         falling            within             the         list         of    items       to     be

seized,         the        government               will,           as      soon         as        is     practicable,                 return

the     device          and delete                or destroy                    all      forensic                copies         thereof.

          17.         If     the     search             determines                    that         a digital                device       does

contain         data         falling             within            the      list         of        items         to     be     seized,          the




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government                    may make                and      retain             copies            of      such       data,            and may

access             such         data            at    any      time.

             18.          If         the        search         determines                    that          a digital               device             is        (1)

itself             an item                to     be seized              and/or                (2)     contains               data         falling

within             the        list         of        other      items            to      be seized,                   the     government                    may

retain             the        digital                device         and      any            forensic              copies           of     the         digital

device,             but        may not                access          data            falling              outside           the        scope          of the

other          items           to         be seized             (after                the     time          for       searching                 the

device             has        expired)                absent          further                court          order.

             19.          The government                        may also                 retain             a digital               device             if       the

government,                    prior             to    the      end         of     the        search           period,              obtains                an

order         from            the         Court        authorizing                     retention               of      the     device                 (or

while         an application                           for      such         an order                 is     pending),                  including                    in

circumstances                        where            the     government                     has      not      been         able         to       fully

search             a device                because            the      device                or     files          contained               therein
is/are             encrypted.

             20.          After            the        completion                 of     the         search           of the             digital

devices,             the         government                   shall          not        access              digital           data         falling

outside             the        scope            of     the      items            to     be        seized          absent            further                order
of     the     Court.

             21.          The review                   of     the      electronic                    data         obtained               pursuant                 to

this      warrant               may be                conducted             by any                government                personnel

assisting                in     the            investigation,                     who may include,                            in        addition                to

law      enforcement                       officers             and       agents,                 attorneys             for        the

government,                    attorney                support            staff,              and        technical             experts.

Pursuant             to        this            warrant,          the        investigating                         agency           may deliver                        a

complete             copy            of        the     seized          or        copied             electronic               data          to      the


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custody          and      control           of     attorneys                 for       the       government                  and     their

support          staff        for     their          independent                    review.

           22.       In order             to      search         for        data          capable            of being              read        or

interpreted               by a digital                  device,              law enforcement                       personnel                 are

authorized               to   seize         the      following                items:

                     a.        Any digital                 device             capable              of being              used        to

commit,          further,           or      store         evidence                 of the          Subject            Offenses

listed        above;

                     b.        Any equipment                     used         to         facilitate               the

transmission,                 creation,             display,                 encoding,                 or    storage            of digital

data;

                     c.        Any magnetic,                     electronic,                     or     optical              storage

device        capable          of     storing             digital             data;

                     d.        Any documentation,                             operating                 logs,           or    reference

manuals          regarding            the         operation             of         the        digital            device         or

software           used       in    the        digital           device;

                     e.        Any applications,                             utility             programs,               compilers,

interpreters,                 or    other          software             used             to    facilitate                direct           or

indirect            communication                  with        the      digital                device;

                     f.        Any physical                    keys,          encryption                    devices,            dongles,

or     similar           physical           items         that         are         necessary                to    gain        access           to

the      digital          device         or      data      stored             on the             digital           device;             and

                     g.        Any passwords,                        password                 files,         biometric               keys,

test       keys,         encryption               codes,         or     other             information                   necessary              to

access        the        digital         device           or     data         stored             on the           digital            device.

           23.       The special                 procedures                  relating              to       digital           devices

found       in     this       warrant            govern          only         the         search            of    digital            devices


                                                                       xv
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pursuant        to    the   authority     conferred        by this   warrant    and    do not

apply      to   any    search     of digital     devices      pursuant    to   any    other

court      order.




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